                    Case 23-09789            Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25                              Desc Main
                                                          Document     Page 1 of 102

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                North Village Snow Management Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA North Village Group
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  751 Lively Blvd.
                                  Elk Grove Village, IL 60007
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.mynorthvillage.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 23-09789                Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25                                    Desc Main
                                                             Document     Page 2 of 102
Debtor    North Village Snow Management Corp.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 23-09789                   Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                Desc Main
                                                                   Document     Page 3 of 102
Debtor    North Village Snow Management Corp.                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-09789    Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25                      Desc Main
                                                   Document     Page 4 of 102
Debtor   North Village Snow Management Corp.                                         Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 23-09789            Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25                                Desc Main
                                                          Document     Page 5 of 102
Debtor    North Village Snow Management Corp.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 27, 2023
                                                  MM / DD / YYYY


                             X /s/ Sean Sandona                                                           Sean Sandona
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ David K. Welch                                                          Date July 27, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David K. Welch 06183621
                                 Printed name

                                 Burke, Warren, MacKay & Serritella, P.C.
                                 Firm name

                                 330 N. Wabash
                                 21st Floor
                                 Chicago, IL 60611
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-840-7122                  Email address      dwelch@burkelaw.com

                                 06183621 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                    Case 23-09789            Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25                                Desc Main
                                                          Document     Page 6 of 102
Debtor    North Village Snow Management Corp.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      07/25/2023
                                                  MM / DD / YYYY


                             X                                                                            Sean Sandona
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X    /s/ David K. Welch                                                       Date
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 David K. Welch 06183621
                                 Printed name

                                 Burke, Warren, MacKay & Serritella, P.C.
                                 Firm name

                                 330 N. Wabash
                                 21st Floor
                                 Chicago, IL 60611
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-840-7122                  Email address      dwelch@burkelaw.com

                                 06183621 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                Case 23-09789     Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25        Desc Main
                                               Document     Page 7 of 102
7:12 PM                                              North Village Group
07/25/23                                                 Profit & Loss
Accrual Basis                                  January through December 2022

                                                                               Jan - Dec 22
                       Ordinary Income/Expense
                            Income
                               43000 · North Village Residential
                                  43200 · Remodel                                489,791.52
                                  43300 · Cost Plus                              345,057.25
                                  43400 · New Construction - Cost Plus           816,818.00

                               Total 43000 · North Village Residential               1,651,666.77

                               44000 · North Village Snow Management
                                 44100 · Snow Management Services                 21,800.00
                                 44200 · Salt                                      3,655.00

                               Total 44000 · North Village Snow Management              25,455.00

                               45000 · North Village Group
                                 45500 · T & M                                   717,997.46

                               Total 45000 · North Village Group                       717,997.46

                               47000 · Refuse Disposal                                   5,200.00

                            Total Income                                             2,400,319.23

                         Gross Profit                                                2,400,319.23

                            Expense
                              60100 · Auto and Truck Expenses
                                60110 · Fuel                                      35,716.16
                                60130 · Truck Repairs                             12,296.68
                                60150 · Registration and Taxes                     2,330.22

                               Total 60100 · Auto and Truck Expenses                    50,343.06

                               60200 · Winter Operations Direct Expens
                                 60211 · Salt Bulk                                 7,402.86
                                 60260 · Outside Labor                             2,417.25

                               Total 60200 · Winter Operations Direct Expens             9,820.11

                               60500 · Construction Project Expenses
                                 60501 · Refuse Removal                           18,894.59
                                 60502 · Materials                               439,181.11
                                 60510 · Subcontracting                          909,648.81
                                 60512 · Equipment Rental                         40,668.03
                                 60520 · Architecture                             43,224.61
                                 60530 · License and Bond Fees                     8,455.00




                                                                                                          Page 1
                Case 23-09789   Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25        Desc Main
                                            Document     Page 8 of 102
7:12 PM                                          North Village Group
07/25/23                                            Profit & Loss
Accrual Basis                               January through December 2022

                                                                            Jan - Dec 22
                                60531 · Permit Fees                            28,496.66
                                61000 · Voided checks                               0.00

                            Total 60500 · Construction Project Expenses           1,488,568.81

                            63300 · Insurance Expense
                              63320 · Work Comp Insurance                      49,636.29
                              63350 · Health Insurance                          9,817.29
                              63370 · Umbrella Ins                             37,672.18

                            Total 63300 · Insurance Expense                          97,125.76

                            64300 · Meals and Entertainment
                              62600 · Seminars/ Meetings                        5,269.00
                              64350 · Meals and Entertainment                   1,973.96

                            Total 64300 · Meals and Entertainment                     7,242.96

                            64400 · Marketing and Advertising
                              64410 · Direct Marketing/ Mailers                28,806.00
                              64430 · Angie's List                             28,564.26
                              64440 · Social Media/ Web Marketing              46,171.11

                            Total 64400 · Marketing and Advertising                 103,541.37

                            64900 · Office/Organizational Expenses
                              64901 · Postage/ Shipping                           925.57
                              64910 · Copying/ Printing                         1,312.81
                              64920 · Bank Service Charges                      1,454.78
                              64925 · Loan Origination Fees                     2,240.16
                              64931 · Cell Phone Expense                        6,771.31
                              64932 · Office Cleaning                           7,428.94
                              64933 · Kitchen Supplies                            609.97
                              64935 · Office Supplies                           4,360.68
                              64936 · Repairs and Maintenance                   2,050.46
                              64937 · Computer/ Internet                        8,940.32
                              64940 · Utilities                                14,998.88
                              64960 · Dues/ Subscriptions                      20,401.99
                              64972 · Security                                 10,742.06
                              64980 · Employee Uniforms                         3,488.24
                              64990 · Travel Expense                           30,324.06
                              64991 · Legal Fees                               20,440.08

                            Total 64900 · Office/Organizational Expenses            136,490.31

                            66000 · Payroll Expenses                                682,746.41
                            66010 · Payroll Tax Expense                             269,096.10



                                                                                                       Page 2
                Case 23-09789     Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25       Desc Main
                                                Document     Page 9 of 102
7:12 PM                                              North Village Group
07/25/23                                               Profit & Loss
Accrual Basis                                  January through December 2022

                                                                               Jan - Dec 22
                              66700 · Professional Fees
                                66710 · Accounting                                 5,434.47

                              Total 66700 · Professional Fees                             5,434.47

                              67100 · Rent Expense                                      70,490.53
                              67500 · To Reconcile                                           0.00

                            Total Expense                                            2,920,899.89

                       Net Ordinary Income                                            -520,580.66

                       Other Income/Expense
                         Other Income
                            70100 · ERTC Refund                                         81,939.55

                         Total Other Income                                             81,939.55

                         Other Expense
                           80500 · Federal Tax                                         -19,289.70
                           80510 · IL Tax                                                4,649.55

                         Total Other Expense                                           -14,640.15

                       Net Other Income                                                 96,579.70

                     Net Income                                                       -424,000.96




                                                                                                          Page 3
                Case 23-09789     Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25        Desc Main
                                              Document      Page 10 of 102
7:25 PM                                              North Village Group
07/25/23                                                Profit & Loss
Accrual Basis                                     January through March 2023

                                                                               Jan - Mar 23
                       Ordinary Income/Expense
                            Income
                               43000 · North Village Residential
                                  43200 · Remodel                                 2,104.21
                                  43300 · Cost Plus                             358,000.00
                                  43400 · New Construction - Cost Plus          128,700.00

                               Total 43000 · North Village Residential                488,804.21

                               44000 · North Village Snow Management
                                 44100 · Snow Management Services                 2,600.00
                                 44200 · Salt                                     4,500.00

                               Total 44000 · North Village Snow Management               7,100.00

                               45000 · North Village Group
                                 45500 · T & M                                   10,423.59

                               Total 45000 · North Village Group                       10,423.59

                            Total Income                                              506,327.80

                         Gross Profit                                                 506,327.80

                            Expense
                              60100 · Auto and Truck Expenses
                                60110 · Fuel                                      6,220.35
                                60130 · Truck Repairs                             1,803.51

                               Total 60100 · Auto and Truck Expenses                     8,023.86

                               60500 · Construction Project Expenses
                                 60501 · Refuse Removal                           6,517.96
                                 60502 · Materials                               47,734.36
                                 60510 · Subcontracting                         114,487.56
                                 60512 · Equipment Rental                        18,510.40
                                 60520 · Architecture                             4,550.00
                                 60531 · Permit Fees                                180.00

                               Total 60500 · Construction Project Expenses            191,980.28

                               63300 · Insurance Expense
                                 63310 · Auto Insurance                           4,485.04
                                 63320 · Work Comp Insurance                     13,751.33
                                 63350 · Health Insurance                         1,920.69
                                 63370 · Umbrella Ins                             8,910.61

                               Total 63300 · Insurance Expense                         29,067.67



                                                                                                          Page 1
                Case 23-09789     Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25        Desc Main
                                             Document      Page 11 of 102
7:25 PM                                            North Village Group
07/25/23                                              Profit & Loss
Accrual Basis                                   January through March 2023

                                                                              Jan - Mar 23
                              64300 · Meals and Entertainment
                                62600 · Seminars/ Meetings                       1,281.54

                              Total 64300 · Meals and Entertainment                     1,281.54

                              64400 · Marketing and Advertising
                                64430 · Angie's List                             5,041.45
                                64440 · Social Media/ Web Marketing              1,400.00

                              Total 64400 · Marketing and Advertising                   6,441.45

                              64900 · Office/Organizational Expenses
                                64910 · Copying/ Printing                          403.74
                                64920 · Bank Service Charges                       104.38
                                64931 · Cell Phone Expense                       1,132.66
                                64932 · Office Cleaning                            643.62
                                64935 · Office Supplies                             94.70
                                64937 · Computer/ Internet                       1,020.05
                                64940 · Utilities                                1,080.30
                                64960 · Dues/ Subscriptions                      3,100.32
                                64972 · Security                                   801.66
                                64990 · Travel Expense                           2,773.19

                              Total 64900 · Office/Organizational Expenses            11,154.62

                              66000 · Payroll Expenses                               160,813.99
                              66010 · Payroll Tax Expense                             61,997.59
                              67100 · Rent Expense                                    19,769.19

                            Total Expense                                            490,530.19

                       Net Ordinary Income                                            15,797.61

                     Net Income                                                       15,797.61




                                                                                                         Page 2
   Case 23-09789         Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25                    Desc Main
                                    Document      Page 12 of 102




August 25, 2020



North Village Snow Management Group
751 Lively Blvd
Elk Grove Village, IL 60007




                                                                             PY
Dear Sean:

We have prepared the following returns from information provided by you without verification or audit:

2019 U.S. Corporation Income Tax Return




                                                              CO
2020 Federal Estimated Tax Worksheet
2019 Illinois Corporation Income Tax Return
2020 Illinois Estimated Tax Vouchers


We suggest that you examine these returns carefully to fully acquaint yourself with all items
contained therein to ensure that there are no omissions or misstatements. Attached are
instructions for signing and filing each return. Please follow those instructions carefully.
                                              NT
Also enclosed is any material you furnished for use in preparing the returns. If the returns are
examined, requests may be made for supporting documentation. Therefore, we recommend that
you retain all pertinent records for at least seven years.

In order that we may properly advise you of tax considerations, please keep us informed of any
significant changes in your financial affairs or of any correspondence received from taxing
                                     IE

authorities.

If you have any questions or if we can be of assistance in any way, please do not hesitate to call.
                        CL


Very Truly Yours,




Tighe, Kress & Orr, P.C.




      2001 LARKIN AVENUE • SUITE 202 • ELGIN, IL 60123 • P: 847.695.2700 • F: 847.695.2748 • WWW.TKOCPA.COM
             CHICAGO                             ELGIN                           ST. CHARLES
Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                        Document      Page 13 of 102




                                                    PY
                  2019 Corporate Income Tax Return


                North Village Snow Management Group




                                          CO
                               NT
                        IE
                CL
   Case 23-09789         Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25                  Desc Main
                                    Document      Page 14 of 102




                                             PRIVACY POLICY




                                                                            PY
CPAs, like all providers of personal financial services, are now required by law to inform their clients of
their policies regarding privacy of client information. CPAs have been and continue to be bound by
professional standards of confidentiality that are even more stringent than those required by law.
Therefore, we have always protected your right to privacy.

                  TYPES OF NONPUBLIC PERSONAL INFORMATION WE COLLECT




                                                                 CO
We collect nonpublic personal information about you that is either provided to us by you or obtained by us
with your authorization.

                          PARTIES TO WHOM WE DISCLOSE INFORMATION

For current and former clients, we do not disclose any nonpublic personal information obtained in the
course of our practice except as required or permitted by law. Permitted disclosures include, for instance,
providing information to our employees and, in limited situations, to unrelated third parties who need to
know that information to assist us in providing services to you. In all such situations, we stress the
                                              NT
confidential nature of information being shared.

              PROTECTING THE CONFIDENTIALITY AND SECURITY OF CURRENT AND
                             FORMER CLIENTS' INFORMATION

We retain records relating to professional services that we provide so that we are better able to assist you
                                     IE

with your professional needs and, in some cases, to comply with professional guidelines. In order to
guard your nonpublic personal information, we maintain physical, electronic, and procedural safeguards
that comply with our professional standards.

                                                 *************
                        CL



Please call if you have any questions, because your privacy, our professional ethics, and the ability to
provide you with quality financial services are very important to us.
  Case 23-09789          Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25               Desc Main
                                     Document      Page 15 of 102

                  2020 ESTIMATED TAX FILING INSTRUCTIONS
                                CORPORATION ESTIMATED INCOME TAX

                                      FOR THE YEAR ENDING
                                              December 31, 2020

Prepared For:


                North Village Snow Management Group
                751 Lively Blvd
                Elk Grove Village, IL 60007

Prepared By:




                                                                           PY
                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                               CO
Amount of Tax:

                Total Estimated Tax                              $                 82,840
                Less credit from prior year                      $                      0
                Less amount paid on 2020 Estimate                $                      0
                Balance Due                                      $                 82,840

                Payable in full or in installments as follows:
                                               NT
                  Voucher            Amount                  Due Date
                   No. 1         $                  20,710    July 15, 2020
                   No. 2         $                  20,710    July 15, 2020
                   No. 3         $                  20,710    September 15, 2020
                   No. 4         $                  20,710    December 15, 2020
                                     IE

Make Check Payable To:

                Not applicable
                        CL


Mail Voucher and Check (if applicable) To:

                Deposit your funds using the IRS electronic remittance processing system, EFTPS.

Special Instructions:

                Deposit your funds using the IRS electronic remittance processing system, EFTPS.
                Taxpayers can make payments online at www.eftps.gov or by calling EFTPS Customer
                Service at 1-800-555-3453. EFTPS deposits must be initiated during business hours at
                least 1 business day before the date the deposit is due. If you are using the ACH Credit
                or Same-Day Fedwire methods, please check with the appropriate financial institution for
                the deadline to ensure timely transmission of funds.
  Case 23-09789           Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25             Desc Main
                                       Document      Page 16 of 102

                     2019 TAX RETURN FILING INSTRUCTIONS
                                U.S. CORPORATION INCOME TAX RETURN

                                        FOR THE YEAR ENDING
                                               December 31, 2019

Prepared For:


                North Village Snow Management Group
                751 Lively Blvd
                Elk Grove Village, IL 60007

Prepared By:




                                                                          PY
                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                            CO
To be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $                      82,804
                Less: payments and credits          $                           0
                Plus: interest and penalties        $                       1,169
                                               NT
                Balance Due                         $                      83,973

Overpayment:
                Not applicable

Make Check Payable To:
                                        IE

                Deposit your funds using the IRS electronic remittance processing system, EFTPS.

Mail Tax Return and Check (if applicable) To:
                        CL



                This return has qualified for electronic filing. The return has been transmitted
                electronically to the IRS, and no further action is required.

Return Must be Mailed on or Before:

                Not Applicable

Special Instructions:

                Your payment should be made as instructed below on or before October 15, 2020.

                Deposit your funds using the IRS electronic remittance processing system, EFTPS.
                Taxpayers can make payments online at www.eftps.gov or by calling EFTPS Customer
                Service at 1-800-555-3453. EFTPS deposits must be initiated during business hours at
                least 1 business day before the date the deposit is due. If you are using the ACH Credit
                or Same-Day Fedwire methods, please check with the appropriate financial institution for
                the deadline to ensure timely transmission of funds.
           Case 23-09789     Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25         Desc Main
                                     Document      Page 17 of 102
                                            CORPORATION
                                      Two-Year Comparison                                             2019
Name                                                                                Employer Identification Number

  NORTH VILLAGE SNOW MANAGEMENT GROUP                                                 XX-XXXXXXX

                                                                                                    Increase
                    Description                       Prior Year     Current Year                  (Decrease)

INCOME:

GROSS RECEIPTS OR SALES LESS
  RETURNS AND ALLOWANCES                            1,852,247.      3,114,713.                  1,262,466.
COST OF GOODS SOLD                                    568,291.      1,045,222.                    476,931.
GROSS PROFITS                                       1,283,956.      2,069,491.                    785,535.




                                                                   PY
NET GAIN (LOSS) FROM FORM 4797                          7,306.         15,398.                      8,092.
  TOTAL INCOME                                      1,291,262.      2,084,889.                    793,627.

DEDUCTIONS:

COMPENSATION OF OFFICERS                               114,000.        154,000.                        40,000.




                                                       CO
SALARIES AND WAGES LESS
  EMPLOYMENT CREDITS                                  531,190.        732,306.                       201,116.
REPAIRS AND MAINTENANCE                                14,576.         71,499.                        56,923.
RENTS                                                  36,835.         38,400.                         1,565.
TAXES AND LICENSES                                     67,019.        104,839.                        37,820.
INTEREST                                               13,957.         21,340.                         7,383.
CHARITABLE CONTRIBUTIONS                                    0.          1,385.                         1,385.
DEPRECIATION                                           70,431.        266,936.                       196,505.
                                            NT
ADVERTISING                                                28.              0.                           -28.
EMPLOYEE BENEFIT PROGRAMS                              18,562.          8,501.                       -10,061.
OTHER DEDUCTIONS                                      220,508.        291,376.                        70,868.
  TOTAL DEDUCTIONS                                  1,087,106.      1,690,582.                       603,476.

TAXABLE INCOME:
                              IE

TAXABLE INCOME BEFORE NOL DEDUCTION
  AND SPECIAL DEDUCTIONS                               204,156.        394,307.                      190,151.
  TAXABLE INCOME                                       204,156.        394,307.                      190,151.
                            CL



TAX COMPUTATION:

INCOME TAX                                               42,873.         82,804.                       39,931.
  TAX BEFORE CREDITS                                     42,873.         82,804.                       39,931.

EFFECTIVE TAX RATE                                     16.3209%        20.9999%                        4.6790%
MARGINAL TAX RATE                                      21.0000%        21.0000%                        0.0000%

CREDIT FOR PRIOR YEAR MINIMUM TAX                         9,553.              0.                       -9,553.
  TOTAL CREDITS                                           9,553.              0.                       -9,553.
  TAX AFTER CREDITS                                      33,320.         82,804.                       49,484.

    TOTAL TAX                                            33,320.         82,804.                       49,484.

PAYMENTS AND CREDITS:




912841
04-01-19
           Case 23-09789     Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25         Desc Main
                                     Document      Page 18 of 102
                                            CORPORATION
                                      Two-Year Comparison                                             2019
Name                                                                                Employer Identification Number

  NORTH VILLAGE SNOW MANAGEMENT GROUP                                                 XX-XXXXXXX

                                                                                                    Increase
                    Description                       Prior Year     Current Year                  (Decrease)


BALANCE DUE OR REFUND:

ESTIMATED TAX PENALTY                                     1,240.          1,169.                          -71.
  AMOUNT OWED                                            34,560.         83,973.                       49,413.




                                                                   PY
SCHEDULE M-1:

NET INCOME (LOSS) PER BOOKS                            182,280.        392,177.                      209,897.
FEDERAL INCOME TAX PER BOOKS                            19,971.              0.                      -19,971.
BOOK EXPENSES NOT ON RETURN                              1,905.          2,130.                          225.
INCOME PER RETURN                                      204,156.        394,307.                      190,151.




                                                       CO
SCHEDULE M-2:

BALANCE AT BEGINNING OF YEAR -
  UNAPPROPRIATED RETAINED EARNINGS                      78,909.        261,189.                      182,280.
NET INCOME (LOSS) PER BOOKS                            182,280.        392,177.                      209,897.
CASH DISTRIBUTIONS                                      53,007.              0.                      -53,007.
BALANCE AT END OF YEAR -
                                            NT
  UNAPPROPRIATED RETAINED EARNINGS                     208,182.        653,366.                      445,184.
                              IE
                            CL




912841
04-01-19
                  Case 23-09789                Doc 1            Filed 07/27/23 Entered 07/27/23 11:24:25                                   Desc Main
                                                                Document      Page 19 of 102

       8879-C                      IRS e-file Signature Authorization for Form 1120                                                                 OMB No. 1545-0123

Form



Department of the Treasury
Internal Revenue Service
                                 For calendar year 2019, or tax year beginning            , 2019, ending

                                                           | Do not send to the IRS. Keep for your records.
                                                                                                                              , 20
                                                                                                                                                       2019
                                                    | Go to www.irs.gov/Form8879C for the latest information.
Name of corporation                                                                                                                  Employer identification number
                      NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                             XX-XXXXXXX
 Part I            Tax Return Information (Whole dollars only)
  1 Total income (Form 1120, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               1           2,084,889.
  2 Taxable income (Form 1120, line 30) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              2             394,307.
  3 Total tax (Form 1120, line 31) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               3              82,804.
  4 Amount owed (Form 1120, line 35) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                4              83,973.
  5 Overpayment (Form 1120, line 36)                                                                 5
 Part II           Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.




                                                                                                                 PY
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's 2019 electronic
income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct, and complete. I further
declare that the amounts in Part I above are the amounts shown on the copy of the corporation's electronic income tax return. I consent to allow my
electronic return originator (ERO), transmitter, or intermediate service provider to send the corporation's return to the IRS and to receive from the
IRS (a) an acknowledgement of receipt or reason for rejection of the transmission, (b) the reason for any delay in processing the return or refund, and
(c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal
(direct debit) entry to the financial institution account indicated in the tax preparation software for payment of the corporation's federal taxes owed




                                                                                           CO
on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial
Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve issues related to
the payment. I have selected a personal identification number (PIN) as my signature for the corporation's electronic income tax return and, if
applicable, the corporation's consent to electronic funds withdrawal.

Officer's PIN: check one box only

       X I authorize TIGHE, KRESS & ORR, P.C.                                                                                        to enter my PIN       26240
                                                                                 NT
                                                               ERO firm name                                                                           do not enter all zeros
             as my signature on the corporation's 2019 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation's 2019 electronically filed income tax return.


Officer's signature |                                                            Date |                             Title | PRESIDENT

 Part III          Certification and Authentication
                                               IE

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                   36803436365
                                                                                                           do not enter all zeros
I certify that the above numeric entry is my PIN, which is my signature on the 2019 electronically filed income tax return for the corporation indicated
                                             CL



above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO's signature | TIGHE,            KRESS & ORR, P.C.                                                           Date |     08/25/20

                                             ERO Must Retain This Form - See Instructions
                                     Do Not Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see instructions.                                                                                             Form 8879-C (2019)
LHA




910211 10-31-19
                  Case 23-09789                  Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                           Desc Main
                                                                Document      Page 20 of 102
Form
        7004
(Rev. December 2018)
                                            Application for Automatic Extension of Time To File Certain
                                              Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
Department of the Treasury                               | File a separate application for each return.
Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                  Name                                                                                                                                 Identifying number


Print             NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                     XX-XXXXXXX
                  Number, street, and room or suite no. (If P.O. box, see instructions.)
or
Type              751 LIVELY BLVD
                  City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                  ELK GROVE VILLAGE, IL                                 60007
Note: File request for extension by the due date of the return. See instructions before completing this form.
 Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
1      Enter the form code for the return listed below that this application is for            




                                                                                                                         PY
Application                                                                      Form         Application                                                                   Form
Is For:                                                                          Code         Is For:                                                                       Code
Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23




                                                                                                    CO
Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
Form 1041-N                                                                        06         Form 1120S                                                                         25
Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
Form 1042                                                                          08         Form 3520-A                                                                        27
Form 1065                                                                          09         Form 8612                                                                          28
Form 1066                                                                          11         Form 8613                                                                          29
Form 1120                                                                          12         Form 8725                                                                          30
Form 1120-C                                                                        34         Form 8804                                                                          31
                                                                              NT
Form 1120-F                                                                        15         Form 8831                                                                          32
Form 1120-FSC                                                                      16         Form 8876                                                                          33
Form 1120-H                                                                        17         Form 8924                                                                          35
Form 1120-L                                                                        18         Form 8928                                                                          36
Form 1120-ND                                                                       19
 Part II       All Filers Must Complete This Part
                                                 IE

2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
       check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
       check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
       If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
                                               CL



       covered by this application.
4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
5 a The application is for calendar year 2019 , or tax year beginning                                                          , and ending
  b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
             Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                                  0.

8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)

DEPARTMENT OF THE TREASURY
INTERNAL REVENUE SERVICE CENTER
KANSAS CITY, MO 64999-0019




919741 04-01-19
                  Case 23-09789                             Doc 1      Filed 07/27/23             Entered 07/27/23 11:24:25                   Desc Main
                                NORTH VILLAGE SNOW MANAGEMENT
                                               Document       GROUP
                                                         Page 21 of 102                                                                      XX-XXXXXXX
Form   1120-W                For calendar year 2020, or tax year    Estimated Tax for Corporations                                                 OMB No. 1545-0123
                                   beginning                                              , and ending
     (WORKSHEET)
Department of the Treasury
Internal Revenue Service
                                                          | Go to www.irs.gov/Form1120W for instructions and the latest information.
                                                    | Keep for the corporation's records - Do not send to the Internal Revenue Service.
                                                                                                                                                      2020
       Estimated Tax Computation

  1 Taxable income expected for the tax year ~~~~~~~~~~~~~~~~~~~~~                                             1


  2 Multiply line 1 by 21% (0.21) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  2


  3 Tax credits. See instructions             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3


  4 Subtract line 3 from line 2           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         4




                                                                                                                         PY
  5 Other taxes. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  5


  6 Total tax. Add lines 4 and 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  6


  7 Credit for federal tax paid on fuels and other refundable credits. See instructions ~~~~~~~~~~~~~~~~~~~~                                  7
  8 Subtract line 7 from line 6. Note: If the result is less than $500, the corporation is not required




                                                                                                       CO
       to make estimated tax payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               8
  9a Enter the tax shown on the corporation's 2019 tax return. See instructions. Caution: If the tax is zero or
     the tax year was for less than 12 months, skip this line and enter the amount from line 8 on line 9b ~~~~~~~~~~~~                       9a         82,804.
   b Enter the smaller of line 8 or line 9a. If the corporation is required to skip line 9a, enter the                                                  82,804.
     amount from line 8                                  ADJUSTED TO                           9b         82,840.
                                                                             (a)                         (b)                           (c)              (d)
10 Installment due dates. See
   instructions ~~~~~~~~~~ |                                   10     07/15/2020                07/15/2020                  09/15/2020            12/15/2020
                                                                                    NT
11 Required installments. Enter 25%
   of line 9b in columns (a) through (d).
   If the corporation uses the annualized
   income installment method or adjusted
   seasonal installment method or is
   a "large corporation," see the
   instructions for the amount to enter                       11            20,710.                     20,710.                       20,710.           20,710.
                                                                                                                                                       1120-W
                                                           IE

LHA        For Paperwork Reduction Act Notice, see instructions.                                                                                  Form        (2020)

AMOUNT ALREADY PAID                                                                0.       TOTAL OVERPAYMENT                                                 0.
OVERPAYMENT APPLIED                                                                0.       AMOUNT REFUNDED                                                   0.
NO. OF INSTALLMENTS REQUIRED                                                   4
                                                         CL




911661
01-28-20
                                                                               Case 23-09789                             Doc 1    Filed 07/27/23 Entered 07/27/23 11:24:25                                                     Desc Main
                                                                                                                            U.S. Corporation
                                                                                                                                  Document      Income   Tax
                                                                                                                                                Page 22 of 102Return
                                                                     1120
                                                                                                                                                                                                                                                   OMB No. 1545-0123

Form                                                                                      For calendar year 2019 or tax year beginning                                                    , ending

Department of the Treasury
Internal Revenue Service                                                                                                   | Go to www.irs.gov/Form1120 for instructions and the latest information.                                                2019
A Check if:                                                                                                      Name                                                                                                               B Employer identification number
1a Consolidated return
   (attach Form 851) ......                                                                                              NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                            XX-XXXXXXX
 b Life/nonlife consoli-                                                                         TYPE                                                                                                                               C Date incorporated
   dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
2 Personal holding co.                                                                           OR
   (attach Sch. PH) ........
                                                                                                 PRINT
                                                                                                                         751 LIVELY BLVD                                                                                                02/26/2010
3 Personal service corp.                                                                                                                                                                                                            D Total assets (see instructions)
   (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
4 Schedule M-3
   attached ...................                                                                                          ELK GROVE VILLAGE, IL                                            60007                                     $         1,042,582.
                                                                                                   E Check if: (1)                 Initial return   (2)         Final return      (3)          Name change      (4)     Address change
                                                                      1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1a        3,114,713.
                                                                        b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 1b
                                                                       c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1c             3,114,713.
                                                                      2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2             1,045,222.
                                                                                                                                                                                                                                              2,069,491.




                                                                                                                                                                                                       PY
                                                                      3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
                                                                      4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Income




                                                                                                                                                                                                                                4
                                                                      5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              5
                                                                      6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                      7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                      8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8
                                                                                                                                                                                                                                                      15,398.




                                                                                                                                                                                  CO
                                                                      9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9
                                                                     10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 10
                                                                     11 Total income. Add lines 3 through 10                        |                                                        11             2,084,889.
                                                                     12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                        12               154,000.
                                                                                                                                                                                                                                                732,306.
      Deductions (See instructions for limitations on deductions.)




                                                                     13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                     14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14                71,499.
                                                                     15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15
                                                                     16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16                   38,400.
                                                                                                                     SEE STATEMENT 1                                                                                                               104,839.
                                                                                                                                                           NT
                                                                     17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17
                                                                     18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18                   21,340.
                                                                                                   SEE STATEMENT 2   AND   SEE STATEMENT 3
                                                                     19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    19                    1,385.
                                                                     20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20                  266,936.
                                                                     21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                     22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22
                                                                                                                         IE

                                                                     23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23
                                                                     24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24                       8,501.
                                                                     25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                     26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     SEE STATEMENT 4                                          26               291,376.
                                                                     27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                           27             1,690,582.
                                                                                                                       CL



                                                                     28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28               394,307.
                                                                     29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                                 29a
                                                                        b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~                                                     29b
                                                                       c Add lines 29a and 29b                                                                                     29c
                                                                     30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30                  394,307.
 Tax, Refundable Credits,




                                                                     31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                   82,804.
                                                                     32 2019 net 965 tax liability paid (Schedule J, Part II, line 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             32
      and Payments




                                                                     33 Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~                                             33
                                                                     34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~ | X                                                          34                      1,169.
                                                                     35 Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed ~~~~~~~~~~~~                                              35                     83,973.
                                                                     36 Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid ~~~~~~~~~~~~                                           36
                                                                     37 Enter amount from line 36 you want: Credited to 2020 estimated tax |                                                                 Refunded    |     37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                             correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                        May the IRS discuss this



                                                                            =                                                                                                    =PRESIDENT
                                                                                                                                                                                                                                            return with the preparer
                                                                                                                                                                                                                                            shown below?
Here                                                                                                                                                                                                                                            X Yes
                                                                                Signature of officer                                                  Date                                                                                                          No
                                                                                                                                                                                  Title
                                                                            Print/Type preparer's name                                                    Preparer's signature                         Date              Check              PTIN
Paid     VICKI M. MICHALSKI, CPA              VICKI M. MICHALSKI 08/25/20              P00443402                                                                                                                         if self-
                                                                                                                                                                                                                         employed

Preparer Firm's name |   TIGHE, KRESS &  ORR,  P.C.                       Firm's EIN | XX-XXXXXXX
Use Only Firm's address |2001 LARKIN AVENUE,   SUITE 202                  Phone no.
                         ELGIN, IL 60123                                         (847) 695-2700
911601
12-30-19                                                                  LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                        Form 1120 (2019)
                   Case 23-09789               Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                         Desc Main
                                                             Document      Page 23 of 102
           NORTH VILLAGE SNOW MANAGEMENT GROUP
Form 1120 (2019)                                                                                                                XX-XXXXXXX Page 2
  Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                  (c) Special deductions
                       (see instructions)                                                                              (b) %
                                                                                                     inclusions                            (a) x (b)
 1 Dividends from less-than-20%-owned domestic corporations (other than
   debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
 2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
   stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                          see
                                                                                                                     instructions
 3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


 4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


 5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7




                                                                                                          PY
 6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


 7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs ~~~~~~                                         65


 8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                          see
                                                                                                                     instructions




                                                                                                 CO
 9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
10 Dividends from domestic corporations received by a small business investment
     company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
13 Foreign-source portion of dividends received from a specified 10%-owned foreign
                                                                          NT
     corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
   (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                          see
                                                                                                                     instructions
15 Section 965(a) inclusion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
                                               IE

     the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
     (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
   b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
     5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   c Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
                                             CL



     (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


17 Global intangible Low-Taxed income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
     page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                         Form 1120 (2019)


911611
12-30-19
                  Case 23-09789                  Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25                             Desc Main
                                                         Document      Page 24 of 102
Form 1120 (2019)       NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                        XX-XXXXXXX Page 3
  Schedule J            Tax Computation and Payment (see instructions)
Part I - Tax Computation
 1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~ |
  2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2           82,804.
  3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3
  4       Add lines 2 and 3                                                    4           82,804.
  5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                             5a
   b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                            5b
   c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                           5c
      d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                  5d
      e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
  6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        6
  7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             7           82,804.




                                                                                                         PY
  8       Personal holding company tax (attach Schedule PH (Form 1120))                             8
  9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                       9a
   b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                   9b
      c Interest due under the look-back method-completed long-term contracts
        (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     9c
      d Interest due under the look-back method-income forecast method (attach Form 8866) ~   9d




                                                                                         CO
      e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~        9e
      f   Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~                    9f
10        Total. Add lines 9a through 9f ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            10
11        Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31                       11          82,804.
Part II - Section 965 Payments (see instructions)
 12 2019 net 965 tax liability paid from Form 965-B, Part II, column (k), line 3. Enter here and on page 1, line 32    12
Part III - Payments, Refundable Credits, and Section 965 Net Tax Liability
 13 2018 overpayment credited to 2019 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 13
                                                                     NT
14        2019 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            14
15        2019 refund applied for on Form 4466    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15   (                  )
16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            16
17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              17
18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18
19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       19
                                               IE

20         Refundable credits from:
      a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          20a
      b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
      c Form 8827, line 5c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20c
      d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~                              20d
                                             CL



21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       21
22        2019 net 965 tax liability from Form 965-B, Part I, column (d), line 3. See instructions ~~~~~~~~~~~~~~~~~          22
23        Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
          line 33                                                          23
                                                                                                                                       Form 1120 (2019)




911621
12-30-19
                  Case 23-09789                      Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                     Desc Main
                                                                    Document      Page 25 of 102
Form 1120 (2019)     NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                         XX-XXXXXXX Page 4
    Schedule K         Other Information (see instructions)
1     Check accounting method: a X Cash     b         Accrual c Other (specify) |                                                                                Yes         No
2     See the instructions and enter the:
    a Business activity code no. | 811310
    b Business activity | SNOW PLOW/MAINTENANC
    c Product or service | SNOW PLOW/MAINTENANC
3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
      If "Yes," enter name and EIN of the parent corporation |


4     At the end of the tax year:
    a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
      organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
      corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X




                                                                                                                      PY
    b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
      classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                              X
 5 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
      foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
      If "Yes," complete (i) through (iv) below.




                                                                                                  CO
                                                                                         (ii) Employer                                                     (iv) Percentage
                                (i) Name of Corporation                             Identification Number                     (iii) Country of            Owned in Voting
                                                                                                                              Incorporation
                                                                                              (if any)                                                           Stock




                                                                            NT
    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
      (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~                  X
      If "Yes," complete (i) through (iv) below.
                                                                                         (ii) Employer                        (iii) Country of                (iv) Maximum
                                    (i) Name of Entity                              Identification Number                                                 Percentage Owned in
                                                                                              (if any)                        Organization
                                                                                                                                                          Profit, Loss, or Capital
                                                     IE
                                                   CL



 6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
   excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
      If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
      If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
   classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~                            X
      For rules of attribution, see section 318. If "Yes," enter:
      (a) Percentage owned |                             and (b) Owner's country |
      (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
      Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached |
 8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
   If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
 9 Enter the amount of tax-exempt interest received or accrued during the tax year | $
10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) |
11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~ |
      If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
      or the election will not be valid.
12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
   page 1, line 29a.)  | $
                                                                                                                                                       Form 1120 (2019)
911632
12-30-19
               Case 23-09789                   Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25                                Desc Main
                                                            Document      Page 26 of 102
Form 1120 (2019)    NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                             XX-XXXXXXX Page 5
  Schedule K         Other Information (continued from page 4)
13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the      Yes   No
   tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 X
    If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
    distributions and the book value of property distributions (other than cash) made during the tax year | $
14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions ~~~~~~~~~~~~~~~~                  X
   If "Yes," complete and attach Schedule UTP.
15a Did the corporation make any payments in 2019 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                         X
  b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     X
16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
   own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X
17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
   of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        X




                                                                                                                  PY
18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
   market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
   under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                           X
20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    X
21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
                                                                                                                                                      X




                                                                                              CO
    267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    If "Yes," enter the total amount of the disallowed deductions | $
22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
   and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X
    If "Yes," complete and attach Form 8991.
23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
   during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       X
                                                                         NT
  a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
    current tax year are more than $26 million and the corporation has business interest expense.
  c The corporation is a tax shelter and the corporation has business interest expense.
    If "Yes," to any, complete and attach Form 8990.
25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               X
                                             IE

   If "Yes," enter amount from Form 8996, line 14  | $
                                                                                                                                          Form 1120 (2019)
                                           CL




911633
12-30-19
                    Case 23-09789                    Doc 1         Filed 07/27/23                  Entered 07/27/23 11:24:25                           Desc Main
Form 1120 (2019)          NORTH VILLAGE SNOWDocument
                                             MANAGEMENTPage
                                                        GROUP
                                                            27 of 102                                                                                    XX-XXXXXXX               Page 6

  Schedule L                 Balance Sheets per Books                           Beginning of tax year                                               End of tax year

                        Assets                                            (a)                                  (b)                            (c)                          (d)
  1 Cash ~~~~~~~~~~~~~~~~~                                                                                   23,586.                                                               0.
  2a Trade notes and accounts receivable ~~~
   b Less allowance for bad debts ~~~~~~                      (                           )                                       (                       )
  3 Inventories ~~~~~~~~~~~~~~
  4 U.S. government obligations ~~~~~~
  5 Tax-exempt securities ~~~~~~~~~
                                       STMT 5
  6 Other current assets (att. stmt.) ~~~~~~~                                                              417,382.                                                     859,887.
  7 Loans to shareholders ~~~~~~~~~                                                                         53,007.                                                      57,211.
  8 Mortgage and real estate loans~~~~~~
  9   Other investments (att. stmt.)     ~~~~~~~~
10a Buildings and other depreciable assets ~~                          652,022.                                                              789,720.
  b Less accumulated depreciation ~~~~~                       (        479,510.)                           172,512. (                        664,236.)                  125,484.




                                                                                                                                  PY
11a Depletable assets ~~~~~~~~~~~
  b Less accumulated depletion ~~~~~~~                        (                           )                                       (                       )
12 Land (net of any amortization) ~~~~~~
13a Intangible assets (amortizable only) ~~~
  b Less accumulated amortization ~~~~~                       (                           )                                       (                       )
14 Other assets (att. stmt.) ~~~~~~~~
                                                                                                           666,487.                                                   1,042,582.




                                                                                                           CO
15 Total assets 
   Liabilities and Shareholders' Equity
16 Accounts payable ~~~~~~~~~~~
17    Mortgages, notes, bonds payable in less than 1 year                                                  150,000.                                                          290.
18    Other current liabilities (att. stmt.)   STMT 6
                                                ~~~~~~                                                                                                                    18,398.
19 Loans from shareholders ~~~~~~~~
20    Mortgages, notes, bonds payable in 1 year or more                                                    254,298.                                                     369,528.
21 Other liabilities (att. stmt.) ~~~~~~~~
                                                                                NT
22 Capital stock: a Preferred stock ~~~~~
                  b Common stock ~~~~~                                     1,000.                               1,000.                         1,000.                       1,000.
23 Additional paid-in capital ~~~~~~~~
      Retained earnings -
24                              ~~~~~~~
      Appropriated (attach statement)
25 Retained earnings - Unappropriated ~~~                                                                  261,189.                                                     653,366.
   Adjustments to shareholders'
26 equity (attach statement) ~~~~~~~~~~
27 Less cost of treasury stock ~~~~~~~
                                                     IE

                                                                                              (                               )                               (                       )
28 Total liabilities and shareholders' equity                               666,487.                                                                                1,042,582.
  Schedule M-1                     Reconciliation of Income (Loss) per Books With Income per Return
                                   Note: The corporation may be required to file Schedule M-3. See instructions.
  1 Net income (loss) per books ~~~~~~~                                  392,177. 7 Income recorded on books this year not
                                                   CL



  2 Federal income tax per books ~~~~~~~                                                                included on this return (itemize):
  3 Excess of capital losses over capital gains ~~                                                      Tax-exempt interest           $
  4   Income subject to tax not recorded on books this year

      (itemize):
                                                                                                  8 Deductions on this return not charged
  5 Expenses recorded on books this year not                                                        against book income this year (itemize):
    deducted on this return (itemize):                                                                  a Depreciation ~~ $
                                                                                                          Charitable
    a Depreciation~~ $                                                                                  b contributions ~~~ $
           Charitable
      b contributions ~~ $
        Travel and
      c entertainment ~ $
      STMT 7                                     2,130.
                                           2,130. 9 Add lines 7 and 8
  6 Add lines 1 through 5     394,307.   10 Income (page 1, line 28) - line 6 less line 9                                                                  394,307.
  Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
  1 Balance at beginning of year ~~~~~~~ 261,189. 5 Distributions: a Cash ~~~~~~~~~~
  2 Net income (loss) per books ~~~~~~~  392,177.                     b Stock ~~~~~~~~~~
  3 Other increases (itemize):                                                                                      c Property ~~~~~~~~
                                                                                                  6 Other decreases (itemize) :


                                                                                                  7 Add lines 5 and 6 ~~~~~~~~~~~~~
  4 Add lines 1, 2, and 3                                     653,366. 8 Balance at end of year (line 4 less line 7)                                       653,366.
                                                                                                                                                                       Form 1120 (2019)
911631
12-30-19
                  Case 23-09789               Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                         Desc Main
                                                            Document      Page 28 of 102
Form          1125-A                                            Cost of Goods Sold
(Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                             Employer Identification number

         NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                        XX-XXXXXXX
1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2                    395,574.
3     Cost of labor      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3
4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
5     Other costs (attach schedule)                       SEE STATEMENT 8
                                      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                  649,648.
6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                1,045,222.
7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7
8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
                                                                                                                                          1,045,222.




                                                                                                       PY
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8
9 a Check all methods used for valuing closing inventory:
      (i)         Cost
      (ii)        Lower of cost or market
      (iii)       Other (Specify method used and attach explanation) |




                                                                                      CO
    b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
    c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
    d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
      under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
    e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
    f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
      If "Yes," attach explanation.
                                                                         NT
For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)
                                              IE
                                            CL




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04-01-19        LHA
                  Case 23-09789                    Doc 1     Filed 07/27/23 Entered 07/27/23 11:24:25                                          Desc Main
                                                             Document      Page 29 of 102
Form     1125-E                                             Compensation of Officers
(Rev. October 2016)                                                                                                                                        OMB No. 1545-0123
                                              | Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
Internal Revenue Service         | Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Name                                                                                                                                                 Employer Identification number

       NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                            XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                          (b) Social security       (c) Percent of     Percent of stock owned               (f) Amount of
                             (a) Name of officer                                                   time devoted to
                                                                               number                 business       (d) Common      (e) Preferred          compensation


1 SEAN         SANDONA                                                                             100%              100.00%                                    154,000.




                                                                                                                      PY
                                                                                                   CO
                                                                 N                  T
                                                              IE
                                                   CL




2    Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 2                154,000.

3    Compensation of officers claimed on Form 1125-A or elsewhere on return ~~~~~~~~~~~~~~~~~~~~~~~                                            3


4    Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
     appropriate line of your tax return                                                              4                154,000.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                       Form 1125-E (Rev. 10-2016)


924451 04-01-19        LHA
                  Case 23-09789                  Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                Desc Main
                                                                Document      Page 30 of 102
Form     2220                      Underpayment of Estimated Tax by Corporations                                                                 OMB No. 1545-0123

                                                               | Attach to the corporation's tax return.
Department of the Treasury
Internal Revenue Service                        | Go to www.irs.gov/Form2220 for instructions and the latest information.
                                                                                                                                                     2019
Name                                                                                                                            Employer identification number
              NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                       XX-XXXXXXX
Note: Generally, the corporation is not required to file Form 2220 (see Part II below for exceptions) because the IRS will figure any penalty owed and
bill the corporation. However, the corporation may still use Form 2220 to figure the penalty. If so, enter the amount from page 2, line 38, on the
estimated tax penalty line of the corporation's income tax return, but do not attach Form 2220.
     Part I       Required Annual Payment

 1 Total tax (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             1           82,804.

 2 a Personal holding company tax (Schedule PH (Form 1120), line 26) included on line 1 ~~~~~~                      2a
   b Look-back interest included on line 1 under section 460(b)(2) for completed long-term




                                                                                                                         PY
      contracts or section 167(g) for depreciation under the income forecast method ~~~~~~~~~                       2b


     c Credit for federal tax paid on fuels (see instructions) ~~~~~~~~~~~~~~~~~~~~~ 2c
     d Total. Add lines 2a through 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        2d
 3 Subtract line 2d from line 1. If the result is less than $500, do not complete or file this form. The corporation
   does not owe the penalty ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 3           82,804.




                                                                                                    CO
 4 Enter the tax shown on the corporation's 2018 income tax return. See instructions. Caution: If the tax is zero
   or the tax year was for less than 12 months, skip this line and enter the amount from line 3 on line 5 ~~~~~~~~~~~~~~                   4           33,320.

 5 Required annual payment. Enter the smaller of line 3 or line 4. If the corporation is required to skip line 4,
   enter the amount from line 3                                                   5                       33,320.
  Part II Reasons for Filing - Check the boxes below that apply. If any boxes are checked, the corporation must file Form 2220
              even if it does not owe a penalty. See instructions.
 6            The corporation is using the adjusted seasonal installment method.
                                                                              NT
 7            The corporation is using the annualized income installment method.
 8            The corporation is a "large corporation" figuring its first required installment based on the prior year's tax.
     Part III Figuring the Underpayment
                                                                                       (a)                        (b)             (c)                     (d)
 9 Installment due dates. Enter in columns (a) through
   (d) the 15th day of the 4th ( Form 990-PF filers:
   Use 5th month), 6th, 9th, and 12th months of the
                                                                        9 04/15/2019                  06/17/2019 09/16/2019 12/16/2019
                                                 IE

   corporation's tax year ~~~~~~~~~~~~~~~~
10 Required installments. If the box on line 6 and/or line 7
   above is checked, enter the amounts from Sch A, line 38. If
      the box on line 8 (but not 6 or 7) is checked, see instructions
      for the amounts to enter. If none of these boxes are checked,
                                               CL



      enter 25% (0.25) of line 5 above in each column ~~~~              10             8,330.                     8,330.         8,330.                  8,330.
11 Estimated tax paid or credited for each period. For
      column (a) only, enter the amount from line 11 on line 15.
      See instructions ~~~~~~~~~~~~~~~~~~                               11
      Complete lines 12 through 18 of one column
   before going to the next column.
12 Enter amount, if any, from line 18 of the preceding column           12
13 Add lines 11 and 12 ~~~~~~~~~~~~~~~~~                                13
14 Add amounts on lines 16 and 17 of the preceding column               14                                        8,330.        16,660.                24,990.
15 Subtract line 14 from line 13. If zero or less, enter -0- ~~         15
16 If the amount on line 15 is zero, subtract line 13 from line
      14. Otherwise, enter -0- ~~~~~~~~~~~~~~~                          16                                        8,330.        16,660.
17 Underpayment. If line 15 is less than or equal to line 10,
   subtract line 15 from line 10. Then go to line 12 of the next
      column. Otherwise, go to line 18 ~~~~~~~~~~~                      17             8,330.                     8,330.         8,330.                  8,330.
18 Overpayment. If line 10 is less than line 15, subtract line 10
   from line 15. Then go to line 12 of the next column               18
Go to Part IV on page 2 to figure the penalty. Do not go to Part IV if there are no entries on line 17 - no penalty is owed.
LHA     For Paperwork Reduction Act Notice, see separate instructions.                                                                               Form 2220 (2019)


912801 01-14-20
                  Case 23-09789                       Doc 1            Filed 07/27/23     Entered 07/27/23 11:24:25                         Desc Main
NORTH VILLAGE SNOW MANAGEMENT GROUP
                           Document                                                     Page 31 of 102                                                XX-XXXXXXX
Form 2220 (2019)                                                                                                                                           Page 2

  Part IV          Figuring the Penalty
                                                                                      (a)                   (b)                       (c)                 (d)
19 Enter the date of payment or the 15th day of the 4th month
   after the close of the tax year, whichever is earlier.                          STATEMENT 9
   (C corporations with tax years ending June 30
   and S corporations: Use 3rd month instead of 4th month.
   Form 990-PF and Form 990-T filers: Use 5th month
   instead of 4th month.) See instructions ~~~~~~~~                         19
20   Number of days from due date of installment on line 9 to the

     date shown on line 19    ~~~~~~~~~~~~~~~~~                             20


21   Number of days on line 20 after 4/15/2019 and before 7/1/2019     ~~   21




                                                                                                                  PY
22   Underpayment on line 17 x Number of days on line 21 x 6% (0.06)    ~   22 $                  $                        $                      $
                                         365


23   Number of days on line 20 after 06/30/2019 and before 10/1/2019    ~   23


24   Underpayment on line 17 x Number of days on line 23 x 5% (0.05)    ~   24 $                  $                        $                      $
                                         365




                                                                                               CO
25   Number of days on line 20 after 9/30/2019 and before 1/1/2020     ~~   25


26   Underpayment on line 17 x Number of days on line 25 x 5% (0.05)    ~   26 $                  $                        $                      $
                                         365

27   Number of days on line 20 after 12/31/2019 and before 4/1/2020     ~   27


28   Underpayment on line 17 x Number of days on line 27 x 5% (0.05)    ~   28 $                  $                        $                      $
                                         366
                                                                                 NT
29   Number of days on line 20 after 3/31/2020 and before 7/1/2020     ~~   29


30   Underpayment on line 17 x Number of days on line 29 x *%        ~~~    30 $                  $                        $                      $
                                         366


31   Number of days on line 20 after 6/30/2020 and before 10/1/2020     ~   31
                                                      IE

32   Underpayment on line 17 x Number of days on line 31 x *%        ~~~    32 $                  $                        $                      $
                                         366

33   Number of days on line 20 after 9/30/2020 and before 1/1/2021     ~~   33


34   Underpayment on line 17 x Number of days on line 33 x *%        ~~~    34 $                  $                        $                      $
                                                    CL


                                         366

35   Number of days on line 20 after 12/31/2020 and before 3/16/2021    ~   35


36   Underpayment on line 17 x Number of days on line 35 x *%        ~~~    36 $                  $                        $                      $
                                         365

37   Add lines 22, 24, 26, 28, 30, 32, 34, and 36   ~~~~~~~~~               37 $            435. $                352. $                    243. $              139.

38 Penalty. Add columns (a) through (d) of line 37. Enter the total here and on Form 1120, line 34; or the comparable
   line for other income tax returns                                                               38 $       1,169.
* Use the penalty interest rate for each calendar quarter, which the IRS will determine during the first month in the preceding quarter.
These rates are published quarterly in an IRS News Release and in a revenue ruling in the Internal Revenue Bulletin. To obtain this
information on the Internet, access the IRS website at www.irs.gov. You can also call 1-800-829-4933 to get interest rate information.
                                                                                                                                                       Form 2220 (2019)




912802 01-14-20
                       Case 23-09789                           Doc 1              Filed 07/27/23 Entered 07/27/23 11:24:25                                                            Desc Main
                                                                                  Document      Page 32 of 102
            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                              | Attach to your tax return.
                                                                                                                                                                OTHER
                                                                                                                                                                                                 2019
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



NORTH VILLAGE SNOW MANAGEMENT GROUP                                              OTHER DEPRECIATION                               XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




                                                                                                                                                         PY
 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8




                                                                                                                               CO
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2018 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
                                                                                                                                                                                                    116,380.
                                                                                                   NT
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2019                                                    ~~~~~~~~~~~~~~                                17                18,947.
                                                                                                             J
                                                               IE

18       If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
                                                             CL



     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21             131,609.
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22             266,936.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
916251 12-12-19          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2019)
                  Case 23-09789              Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25                                            Desc Main
                                                         Document      Page 33 of 102
Form 4562 (2019)                 NORTH VILLAGE SNOW MANAGEMENT GROUP                                                  XX-XXXXXXX                                               Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?         X Yes                 No 24b If "Yes," is the evidence written? X Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)           (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation   Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction   section 179
                                service      use percentage                                 use only)
                                                                                                                                                        cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25    118,210.


                                       ! !
26 Property used more than 50% in a qualified business use:



                                       ! !
                                                          %
            SEE STATEMENT 10                                                                                                                13,399.

                                       ! !
                                                          %




                                                                                                                 PY
                                                          %



                                       ! !
27 Property used 50% or less in a qualified business use:



                                       ! !
                                                          %                                                          S/L -



                                       ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28 131,609.




                                                                                               CO
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1         29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                   (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle               Vehicle
   year (don't include commuting miles) ~~~~~~~
                                                                           NT
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.                            SEE PART V STATEMENT
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No        Yes          No
                                               IE

   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                                             CL



                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                              Yes         No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                   (f)
                    Description of costs               Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2019 tax year:



                                                            ! !
43 Amortization of costs that began before your 2019 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
916252 12-12-19                                                                                                                                                Form 4562 (2019)
                 Case 23-09789                   Doc 1              Filed 07/27/23 Entered 07/27/23 11:24:25                                        Desc Main
                                                                    Document      Page 34 of 102
                                                        Sales of Business Property
                                                                                                                                                                     OMB No. 1545-0184


Form       4797
Department of the Treasury
                                        (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                       | Attach to your tax return.
                                                                                                                                                                      2019
                                                                                                                                                                   Attachment
Internal Revenue Service                          | Go to www.irs.gov/Form4797 for instructions and the latest information.                                        Sequence No.   27
Name(s) shown on return                                                                                                               Identifying number


      NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                 XX-XXXXXXX
 1 Enter the gross proceeds from sales or exchanges reported to you for 2019 on Form(s) 1099-B or 1099-S (or substitute
   statement) that you are including on line 2, 10, or 20. See instructions               0.                                1
  Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                  Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                               (e) Depreciation           (f) Cost or other             (g) Gain or (loss)
                                                  (b) Date          (c) Date            (d) Gross                                            basis, plus                 Subtract (f) from
                  (a) Description of                acquired            sold              sales price
                                                                                                            allowed or allowable          improvements and            the sum of (d) and (e)
                      property                    (mo., day, yr.)   (mo., day, yr.)                           since acquisition            expense of sale




                                                                                                                        PY
 2




 3 Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
 4 Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         4




                                                                                                        CO
 5 Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           5
 6 Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            6
 7 Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~~~~~~~~~                                          7
   Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
   line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
   Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
   from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
   1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
   the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
                                                                                      NT
 8 Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       8
 9 Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
   line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
     capital gain on the Schedule D filed with your return. See instructions                                                     9

  Part II         Ordinary Gains and Losses (see instructions)
                                                 IE

10 Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
                                               CL



11     Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            11 (                             )
12     Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
13     Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            13           15,398.
14     Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               14
15     Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           15
16     Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         16
17     Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             17           15,398.

18     For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines a
       and b below. For individual returns, complete lines a and b below.

     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the loss
       from income-producing property on Schedule A (Form 1040 or Form 1040-SR), line 16. (Do not include any loss on
       property used as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~                                          18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040 or Form 1040-SR), Part I, line 4                                                                     18b
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form 4797 (2019)




918001
12-04-19
NORTH VILLAGE  SNOW MANAGEMENT
       Case 23-09789 Doc 1 FiledGROUP
                                 07/27/23                                                Entered 07/27/23 11:24:25                             XX-XXXXXXX
                                                                                                                                         Desc Main
Form 4797 (2019)                                                   Document            Page 35 of 102                                                                       Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                              (b) Date acquired      (c) Date sold
                                                                                                                                               (mo., day, yr.)       (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A 1998 GMC 6500 - VEHICLE #105                                                                                                              112414 120119
   B FORD SUPER DUTY F250 - VEHICLE #107                                                                                                       032316 120119
   C
   D
        These columns relate to the properties on
        lines 19A through 19D.                                        J          Property A               Property B            Property C                       Property D
 20     Gross sales price (Note: See line 1 before completing.)      20              5,428.                 15,000.
 21     Cost or other basis plus expense of sale ~~~~~~              21             19,000.                 43,664.
 22     Depreciation (or depletion) allowed or allowable    ~~       22             19,000.                 38,634.
 23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23                  0.                  5,030.

                                                                                     5,428.                   9,970.




                                                                                                                     PY
 24     Total gain. Subtract line 23 from line 20              24
 25     If section 1245 property:
      a Depreciation allowed or allowable from line 22 ~~~           25a            19,000.                 38,634.
      b Enter the smaller of line 24 or 25a                  25b             5,428.                  9,970.
 26     If section 1250 property: If straight line depreciation
        was used, enter -0- on line 26g, except for a corporation




                                                                                                 CO
        subject to section 291.
      a Additional depreciation after 1975 ~~~~~~~~                  26a
      b Applicable percentage multiplied by the smaller of
        line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
      c Subtract line 26a from line 24. If residential rental
        property or line 24 isn't more than line 26a, skip lines
        26d and 26e       ~~~~~~~~~~~~~~~~~                          26c
      d Additional depreciation after 1969 and before 1976 ~         26d
                                                                           NT
      e Enter the smaller of line 26c or 26d    ~~~~~~~              26e
      f Section 291 amount (corporations only) ~~~~~                 26f
      g Add lines 26b, 26e, and 26f                       26g
 27     If section 1252 property: Skip this section if you didn't
        dispose of farmland or if this form is being completed for
        a partnership.
                                                 IE

      a Soil, water, and land clearing expenses ~~~~~~               27a
      b Line 27a multiplied by applicable percentage ~~~~            27b
      c Enter the smaller of line 24 or 27b                  27c
 28     If section 1254 property:
      a Intangible drilling and development costs, expenditures
                                               CL



        for development of mines and other natural deposits,
        mining exploration costs, and depletion ~~~~~~               28a
      b Enter the smaller of line 24 or 28a                  28b
 29     If section 1255 property:
      a Applicable percentage of payments excluded from
        income under section 126 ~~~~~~~~~~~~                        29a
  b Enter the smaller of line 24 or 29a   29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30     Total gains for all properties. Add property columns A through D, line 24    ~~~~~~~~~~~~~~~~~~~~~~~~                                   30                15,398.

 31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13 ~~~~~~~~~~~~~~                           31                15,398.
 32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
        from other than casualty or theft on Form 4797, line 6                                                 32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                                (a) Section                      (b) Section
                                                                                                                                    179                          280F(b)(2)
 33     Section 179 expense deduction or depreciation allowable in prior years      ~~~~~~~~~~~~~~                         33
 34     Recomputed depreciation. See instructions      ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          34
 35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
918002
12-04-19                                                                                                                                                          Form 4797 (2019)
 Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                         Document      Page 36 of 102
Section 1.263(a)-1(f) De Minimis Safe Harbor Election




North Village Snow Management Group
751 Lively Blvd
Elk Grove Village, IL 60007


Employer Identification Number:    XX-XXXXXXX


For the Year Ending December 31, 2019




                                                     PY
North Village Snow Management Group is making the de minimis safe
harbor election under Reg. Sec. 1.263(a)-1(f).




                                           CO
                                NT
                   IE
                 CL
 Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                         Document      Page 37 of 102
         Section 1.263(a)-3(n) Election




North Village Snow Management Group
751 Lively Blvd
Elk Grove Village, IL 60007


Employer Identification Number:    XX-XXXXXXX


For the Year Ending December 31, 2019




                                                     PY
North Village Snow Management Group is electing to capitalize repair
and maintenance costs under Reg. Sec. 1.263(a)-3(n).




                                           CO
                                NT
                   IE
                 CL
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 38 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                     TAXES AND LICENSES                 STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
LICENSES AND PERMITS                                                           19,499.
PAYROLL TAXES                                                                  85,340.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 17                                                   104,839.
                                                                        ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                          CURRENT YEAR CONTRIBUTIONS             STATEMENT 2




                                                         PY
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
DONATIONS                                                                       1,385.
                                                                        }}}}}}}}}}}}}}
TOTAL CURRENT YEAR CONTRIBUTIONS                                                1,385.




                                                CO
                                                                        ~~~~~~~~~~~~~~


                                     NT
                          IE
                        CL




                                                                       STATEMENT(S) 1, 2
         Case 23-09789     Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 39 of 102                     XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                          }}}}}}}}}}

                                    CONTRIBUTIONS                           STATEMENT 3



 CURRENT YEAR CONTRIBUTIONS:
 QUALIFIED CONTRIBUTIONS SUBJECT TO 100% LIMIT
 QUALIFIED CONTRIBUTIONS SUBJECT TO 25% LIMIT
 FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 25% LIMIT
 FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 15% LIMIT
 QUALIFIED CONTRIBUTIONS SUBJECT TO 10% LIMIT                      1,385

 CONTRIBUTION SUBJECT TO LIMITATION:
   CARRYOVER OF PRIOR YEARS UNUSED CONTRIBUTIONS




                                                         PY
   FOR   TAX   YEAR 2014
   FOR   TAX   YEAR 2015
   FOR   TAX   YEAR 2016
   FOR   TAX   YEAR 2017
   FOR   TAX   YEAR 2018




                                                CO
   TOTAL CARRYOVER
   CURRENT YEAR CONTRIBUTIONS                                    1,385

   TOTAL CONTRIBUTIONS AVAILABLE                                 1,385
   TAXABLE INCOME LIMITATION AS ADJUSTED                        39,569

   EXCESS CONTRIBUTIONS                                                0
                                     NT
   ALLOWABLE CONTRIBUTIONS DEDUCTION                                               1,385

 TOTAL CONTRIBUTION DEDUCTION                                                      1,385
                             IE
                           CL




                                                                           STATEMENT(S) 3
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 40 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
BANK AND CREDIT CARD FEES                                                       2,261.
COMPUTER AND INTERNET                                                           4,596.
CONSULTING FEES                                                                64,485.
DUES AND SUBSCRIPTIONS                                                         15,735.
FUEL                                                                           44,537.
INSURANCE                                                                      62,209.
LEASE EXPENSE                                                                   2,038.
LEGAL AND PROFESSIONAL                                                          6,283.




                                                         PY
NETWORKING                                                                      6,129.
OFFICE EXPENSES                                                                 4,206.
OTHER EXPENSES                                                                 29,085.
POSTAGE                                                                            891.
PRINTING                                                                        2,720.
SUPPLIES                                                                        7,483.




                                                CO
TELEPHONE                                                                      10,403.
TRAVEL                                                                         16,649.
UTILITIES                                                                      11,666.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 26                                                   291,376.
                                                                        ~~~~~~~~~~~~~~
                                     NT
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
                          IE

DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE FROM DOORAGE                                            411,942.       853,747.
EMPLOYEE LOANS                                                5,440.         6,140.
                        CL


                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                 417,382.       859,887.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
CHECKS IN EXCESS                                                            18,398.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 18                                                18,398.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                  STATEMENT(S) 4, 5, 6
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 41 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER EXPENSES RECORDED ON BOOKS          STATEMENT 7
                         NOT DEDUCTED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
ENTERTAINMENT                                                                   2,130.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 5                                                   2,130.
                                                                        ~~~~~~~~~~~~~~




                                                         PY
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FORM 1125-A                      OTHER COSTS                     STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT




                                                CO
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
ARCHITECTURE                                                                   19,856.
EQUIPMENT RENTAL                                                              143,748.
OUTSIDE LABOR                                                                  40,281.
REFUSE REMOVAL                                                                 14,864.
SALT PURCHASES                                                                 16,776.
SUBCONTRACTING
SUBCONTRACTING EXPENSES                                                       414,123.
                                     NT
                                                                        }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                               649,648.
                                                                        ~~~~~~~~~~~~~~
                          IE
                        CL




                                                                       STATEMENT(S) 7, 8
          Case 23-09789     Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25       Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 42 of 102             XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                  }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 2220             COMPUTATION OF UNDERPAYMENT PENALTY         STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
Q
T      EVENT           REMAINING         PERIOD OF       DAYS INT    AMOUNT OF
R   AMOUNT TYPE   *   UNDERPAYMENT      UNDERPAYMENT          RATE    PENALTY
- }}}}}}}}}}}}} }}}} }}}}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}} }}}} }}}}}}}}}}}
A
              Q            8,330. 04/15/2019 06/30/2019    76   6%         104.
              R            8,330. 06/30/2019 12/31/2019 184     5%         210.
              L            8,330. 12/31/2019 04/15/2020 106     5%         121.

B
                Q                   8,330.   06/15/2019 06/30/2019    15    6%          21.




                                                             PY
                R                   8,330.   06/30/2019 12/31/2019   184    5%         210.
                L                   8,330.   12/31/2019 04/15/2020   106    5%         121.

C
                Q                   8,330.   09/15/2019 12/31/2019   107    5%         122.
                L                   8,330.   12/31/2019 04/15/2020   106    5%         121.




                                                     CO
D
                Q                   8,330.   12/15/2019 12/31/2019    16    5%           18.
                L                   8,330.   12/31/2019 04/15/2020   106    5%          121.
                                                                                 }}}}}}}}}}}
    TOTAL TO FORM 2220, LINE 38                                                       1,169.
                                                                                 ~~~~~~~~~~~
      EVENT TYPE: Q   =   AMOUNT UNDERPAID AT START OF QUARTER
                  P   =   PAYMENT
                                             NT
                  W   =   WITHHOLDING
                  R   =   INTEREST RATE CHANGE
                  L   =   SWITCH TO OR FROM A LEAP YEAR
                             IE
                           CL




                                                                             STATEMENT(S) 9
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 43 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
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FORM 4562, PART V   LISTED PROPERTY INFORMATION-MORE THAN 50%    STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

    (A)       (B)     (C)     (D)      (E)    (F)    (G)       (H)    (I) 179
DESCRIPTION   DATE   BUS. %   COST    BASIS   LIFE MTH/CV DEDUCTION ELECTED
}}}}}}}}}}} }}}}}}}} }}}}}} }}}}}}}} }}}}}}}} }}}} }}}}}}}} }}}}}}}}} }}}}}}}}

(J)     (K)        (L)         (M)       (N)   (O)     (P)       (Q)
AUTO   TOTAL    BUSINESS    COMMUTING PERSONAL
                                             WAS VEH. > 5% ANOTHER VEH.
 NO    MILES      MILES       MILES     MILESAVAIL.? OWNER? AVAILABLE?
                                               Y N     Y N       Y N
}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}} }}}}}} }}}}}}}}}}}}
2015 FORD   09/14/15
TRANSIT -




                                                         PY
VEHICLE
#401                 100.00 37,420. 25,960. 5.00 200DB-HY      1,975.

2006 CHEVY   07/04/16
E350 -
VEHICLE




                                                 CO
#108                    100.00   5,984.     2,992. 5.00 200DB-HY         324.

2016 FORD    10/08/16
TRANSIT -
VEHICLE
#403                    100.00   33,053.   21,493. 5.00 200DB-HY       2,075.

2017 FORD    03/30/16
                                     NT
TRANSIT -
VEHICLE
#402                    100.00   32,092.   20,532. 5.00 200DB-HY       2,075.

2017 FORD    06/01/17
TRANSIT -
                          IE

VEHICLE
#404                    100.00   37,182.   25,622. 5.00 200DB-HY       3,450.

2017 FORD    09/28/18
                        CL


ESCAPE -
VEHICLE
#208                    100.00   28,939.   10,939. 5.00 200DB-HY       3,500.

2017 FORD    06/01/19
EXPLORER -
VEHICLE
#209                    100.00   42,001.   23,901. 5.00 200DB-MQ

2019 FORD    12/01/19
F250 -
VEHICLE
#112                    100.00   57,450.           5.00 200DB-MQ

2014        12/01/19
FREIGHTLINE
 M2 -
VEHICLE
#111                 100.00      42,660.           5.00 200DB-MQ



                                                                        STATEMENT(S) 10
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 44 of 102                   XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                        }}}}}}}}}}
                                                                   }}}}}}}}} }}}}}}}}
TOTAL TO FORM 4562, PART V, LINE 26                                  13,399.
                                                                   ~~~~~~~~~ ~~~~~~~~




                                                         PY
                                                CO
                                     NT
                          IE
                        CL




                                                                        STATEMENT(S) 10
  Case 23-09789          Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25             Desc Main
                                     Document      Page 45 of 102

                  2020 ESTIMATED TAX FILING INSTRUCTIONS
                                          ILLINOIS FORM IL-1120-V

                                      FOR THE YEAR ENDING
                                               December 31, 2020

Prepared For:


                North Village Snow Management Group
                751 Lively Blvd
                Elk Grove Village, IL 60007

Prepared By:




                                                                          PY
                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                              CO
Amount of Tax:

                Total Estimated Tax                              $               35,160
                Less credit from prior year                      $                    0
                Less amount already paid on 2020 Estimate        $                    0
                Balance Due                                      $               35,160

                Payable in full or in installments as follows:
                                                NT
                  Voucher            Amount                 Due Date
                   No. 1         $                      0   April 15, 2020
                   No. 2         $                 17,580   June 15, 2020
                   No. 3         $                  8,790   September 15, 2020
                   No. 4         $                  8,790   December 15, 2020
                                      IE

Mail Check Payable to:

                Not applicable

Mail Voucher and Check (if applicable) to:
                        CL



                Payments must be filed and paid electronically via the Illinois Department of Revenue
                website at:
                http://tax.illinois.gov/ElectronicServices/Businesses


Special Instructions:
  Case 23-09789           Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25           Desc Main
                                       Document      Page 46 of 102

                     2019 TAX RETURN FILING INSTRUCTIONS
                                               ILLINOIS FORM IL-1120

                                        FOR THE YEAR ENDING
                                                 December 31, 2019

Prepared For:


                North Village Snow Management Group
                751 Lively Blvd
                Elk Grove Village, IL 60007

Prepared By:




                                                                         PY
                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                              CO
To Be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                             $                  35,150
                Less: payments and credits            $                       0
                Plus: other amount                    $                       0
                                                 NT
                Plus: interest and penalties          $                   1,471
                Balance due                           $                  36,621

Overpayment:
                Not applicable
                                        IE

Make Check Payable to:

                When the return is filed the amount due should be electronically transferred.

Mail Tax Return and Check (if applicable) to:
                        CL



                This return has qualified for electronic filing. The return has been transmitted
                electronically to the IDOR, and no further action is required. Do not mail the paper copy
                of the return to the IDOR .

Return Must be Mailed On or Before:

                Not Applicable

Special Instructions:

                Your payment should be made as instructed below on or before October 15, 2020.

                Payment of tax must be made electronically via the Illinois Department of Revenue
                website at:

                http://tax.illinois.gov/ElectronicServices/Businesses
                  Case 23-09789      Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                      Desc Main
                                                   Document      Page 47 of 102
          Illinois Department of Revenue
                                                   Payment Voucher for Corporation                                                                 2020
          IL-1120-V                                  Income and Replacement Tax




                                                                                                       PY
                                                                                    CO
                                                                NT
                                      IE
                                    CL



949992 01-08-20

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
  Illinois Department of Revenue
                                 Payment Voucher for Corporation
        2020 IL-1120-V            Income and Replacement Tax
    IL-1120-V (R-12/19)   ID:2BX                                                                                                     Official use only
                                   Mail to: Illinois Department of Revenue, P.O. Box 19038, Springfield, IL 62794-9038
                   STOP If no payment is due or you make your payment electronically, do not file this form.
                                                                                                                                 Tax year ending
  FEIN:


                                                                                                                         Month                 Year


                                                                                                               $
                                                                                                                  Payment Amount (Whole dollars only)
                                                                                             Write your FEIN, tax year ending, and "IL-1120-V" on your check or
 Preparer's phone number:                                                                    money order and make it payable to "Illinois Department of Revenue."
                  Case 23-09789        Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                      Desc Main
                                                     Document      Page 48 of 102
          Illinois Department of Revenue
                                                     Payment Voucher for Corporation                                                                 2020
          IL-1120-V                                    Income and Replacement Tax




                                                                                                         PY
                                                                                      CO
                                                                  NT
                                       IE
                                     CL



949992 01-08-20

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  Illinois Department of Revenue
                                 Payment Voucher for Corporation
        2020 IL-1120-V            Income and Replacement Tax
    IL-1120-V (R-12/19)   ID:2BX                                                                                                       Official use only
                                     Mail to: Illinois Department of Revenue, P.O. Box 19038, Springfield, IL 62794-9038
                   STOP If no payment is due or you make your payment electronically, do not file this form.
                                                                                                                                   Tax year ending
  FEIN:           XX-XXXXXXX 000 5
                                                                                                                           12                    20
                                                                                                                           Month                 Year
  NORTH VILLAGE SNOW MANAGEMENT GROUP
  751 LIVELY BLVD                                                                                                $                             17,580.00
  ELK GROVE VILLAGE, IL 60007
                                                                                                                    Payment Amount (Whole dollars only)
                                                                                               Write your FEIN, tax year ending, and "IL-1120-V" on your check or
 Preparer's phone number:                                                                      money order and make it payable to "Illinois Department of Revenue."
  (847) 695-2700



                                   112081220 8 271426240 000 5 00001758000
                  Case 23-09789        Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                      Desc Main
                                                     Document      Page 49 of 102
          Illinois Department of Revenue
                                                     Payment Voucher for Corporation                                                                 2020
          IL-1120-V                                    Income and Replacement Tax




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                                                                                      CO
                                                                  NT
                                       IE
                                     CL



949992 01-08-20

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
  Illinois Department of Revenue
                                 Payment Voucher for Corporation
        2020 IL-1120-V            Income and Replacement Tax
    IL-1120-V (R-12/19)   ID:2BX                                                                                                       Official use only
                                     Mail to: Illinois Department of Revenue, P.O. Box 19038, Springfield, IL 62794-9038
                   STOP If no payment is due or you make your payment electronically, do not file this form.
                                                                                                                                   Tax year ending
  FEIN:           XX-XXXXXXX 000 5
                                                                                                                           12                    20
                                                                                                                           Month                 Year
  NORTH VILLAGE SNOW MANAGEMENT GROUP
  751 LIVELY BLVD                                                                                                $                               8,790.00
  ELK GROVE VILLAGE, IL 60007
                                                                                                                    Payment Amount (Whole dollars only)
                                                                                               Write your FEIN, tax year ending, and "IL-1120-V" on your check or
 Preparer's phone number:                                                                      money order and make it payable to "Illinois Department of Revenue."
  (847) 695-2700



                                   112081220 8 271426240 000 5 00000879000
                  Case 23-09789        Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                      Desc Main
                                                     Document      Page 50 of 102
          Illinois Department of Revenue
                                                     Payment Voucher for Corporation                                                                 2020
          IL-1120-V                                    Income and Replacement Tax




                                                                                                         PY
                                                                                      CO
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                                       IE
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949992 01-08-20

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
  Illinois Department of Revenue
                                 Payment Voucher for Corporation
        2020 IL-1120-V            Income and Replacement Tax
    IL-1120-V (R-12/19)   ID:2BX                                                                                                       Official use only
                                     Mail to: Illinois Department of Revenue, P.O. Box 19038, Springfield, IL 62794-9038
                   STOP If no payment is due or you make your payment electronically, do not file this form.
                                                                                                                                   Tax year ending
  FEIN:           XX-XXXXXXX 000 5
                                                                                                                           12                    20
                                                                                                                           Month                 Year
  NORTH VILLAGE SNOW MANAGEMENT GROUP
  751 LIVELY BLVD                                                                                                $                               8,790.00
  ELK GROVE VILLAGE, IL 60007
                                                                                                                    Payment Amount (Whole dollars only)
                                                                                               Write your FEIN, tax year ending, and "IL-1120-V" on your check or
 Preparer's phone number:                                                                      money order and make it payable to "Illinois Department of Revenue."
  (847) 695-2700



                                   112081220 8 271426240 000 5 00000879000
                                                        Case 23-09789                    Doc 1             Filed 07/27/23 Entered 07/27/23 11:24:25                                                 Desc Main
                                                                                                           Document      Page 51 of 102
                                                    Illinois Department of Revenue
                                                    2019 Form IL-1120
                                                    Corporation Income and Replacement Tax Return
                                                    See "When should I file?" in the Form IL-1120 instructions for a list of due dates.
         If this return is not for calendar year 2019, enter your fiscal tax year here.                                                                                                         Enter the amount you are paying.
         Tax year beginning                                                                          , 2019, ending                                                                             $           36,621.00
                                                                month                 day                             month                    day                  year
            This form is for tax years ending on or after December 31, 2019, and before December 31, 2020.
            For all other situations, see instructions to determine the correct form to use.
              WARNING
Step 1: Identify your corporation                                                                 N Enter your federal employer identification number (FEIN).
 A Enter your complete legal business name.                                                           XX-XXXXXXX
                          If you have a name change, check this box.
                                                                                                                                                               O If you are a member of a group filing a federal
                          Name:                     NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                          consolidated return, enter the FEIN of the parent.
  B Enter your mailing address.




                                                                                                                                                                               PY
                          Check this box if either of the following apply:
                          ¥ this is your first return, or                                                                                                      P Enter your North American Industry Classification
                          ¥ you have an address change.                                                                                                          System (NAICS) Code. See instructions.
                                                                                                                                                                   811310
                          C/O:

                                                                                                                                                               Q Enter your corporate file (charter) number
                                                             751 LIVELY BLVD




                                                                                                                                                     CO
                          Mailing address:                                                                                                                       assigned to you by the Secretary of State.
                                                                                                                                                                   67043502
                          City: ELK GROVE VILLAGE                                                        State: IL ZIP:60007

       C If this is the first or final return, check the applicable box(es).                                                                                   R Enter the city, state, and ZIP code where your
                  First return                                                                                                                                   accounting records are kept. (Use the two-letter
                                                    Final return (Enter the date of termination.                                   )                             postal abbreviation, e.g. , IL, GA, etc.)
                                                                                                     mm        dd        yyyy
                                                                                                                                                                   ELK GROVE VILLA IL                            60007
                                                                                                                                                                   City                             State                ZIP
       D If this is a final return because you sold this business, enter the date sold
                                                                                                                           NT
                          (mm dd yyyy)                                                  , and the new owner's FEIN.
                                                                                                                                                               S If you are making the business income election to
        E Check the box and see the instructions if your business is a:                                                                                          treat all nonbusiness income as business income,
                                                    Unitary Filer (Combined return)               Foreign insurer                                                  check this box and enter zero on Lines 24 and 32.
        F If you completed the following, check the box and attach the federal
          form(s) to this return.                                                                                                                              T Check your method of accounting.
                                                    Federal Form 8886                             Federal Schedule M-3,                                            X Cash
                                                                                         IE

                                                                                                                                                                                   Accrual        Other
                                                                                                  Part II, Line 12                                             U If you are making a discharge of indebtedness
       G Apportionment Formulas. Mark the appropriate box or boxes and see                                                                                       adjustment on Schedules NLD or UB/NLD, or Form
         Apportionment Formula instructions.         Sales companies                                                                                               IL-1120, Line 36, check this box and attach federal
                                                    Insurance companies                           Financial organizations                                        Form 982.
                                                                                       CL



                                                    Transportation companies                      Federally regulated exchanges                                V Check this box if you attached
       H Check this box if you attached Illinois Schedule UB.                                                                                                    Schedule INL.
            I Check this box if you attached the Subgroup Schedule.                                                                                            W If you annualized your income on Form
         J Check this box if you attached Illinois Schedule 1299-D.                                                                                              IL-2220, check this box and attach Form IL-2220.
       K Check this box if you attached Form IL-4562.                                                                                          X               X Check this box if your business activity is
        L Check this box if you attached Illinois Schedule M (for businesses).                                                                                   protected under Public Law 86-272.
    M Check this box if you attached Schedule 80/20.                                                                                                           Y Check this box if you are a 52/53 week filer.
L
                                                  J If you owe tax on Line 67, complete a payment voucher, Form IL-1120-V. Write your FEIN, tax year ending, and
Attach your payment and
                          Form IL-1120-V here .




                                                      "IL-1120-V" on your check or money order and make it payable to "Illinois Department of Revenue." Attach your
                                                      voucher and payment here.

                                                  J Refer to the 2019 IL-1120 Instructions for the address to mail your return.




K


                                                           ID: 2BX
                                                  949401 01-08-20         This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this          IR      NS                DR
                                                                          information is REQUIRED. Failure to provide information could result in a penalty.
                                                  IL-1120 (R-12/19)                                                                                                                                              Page 1 of 4
              Case 23-09789                  Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                     Desc Main
                                                            Document      Page 52 of 102
        NORTH VILLAGE SNOW MANAGEMENT                                                                                                     XX-XXXXXXX

                                                                                                                                            (Whole dollars only)
Step 2: Figure your income or loss
 1 Federal taxable income from U.S. Form 1120, Line 30. Attach a copy of your federal return.                                        1             394,307 .00
 2 Net operating loss deduction from U.S. Form 1120, Line 29a. This amount cannot be negative.                                       2                             .00
 3 State, municipal, and other interest income excluded from Line 1.                                                                 3                             .00
 4 Illinois income and replacement tax and surcharge deducted in arriving at Line 1.                                                 4                             .00
 5 Illinois Special Depreciation addition. Attach Form IL-4562.                                                                      5               26,302 .00
 6 Related-Party Expenses additions. Attach Schedule 80/20.                                                                          6                             .00
 7 Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.                                                               7                             .00
 8 Other additions. Attach Schedule M (for businesses).                                                                              8                             .00
 9 Add Lines 1 through 8. This amount is your income or loss.                                                                        9             420,609 .00




                                                                                                                PY
Step 3: Figure your base income or loss
10 Interest income from U.S. Treasury and other exempt federal obligations.                10                                 .00
11 River Edge Redevelopment Zone Dividend subtraction.
   Attach Schedule 1299-B.                                                                 11                                 .00
12 River Edge Redevelopment Zone Interest subtraction.
   Attach Schedule 1299-B.                                                                 12                                 .00




                                                                                            CO
13 High Impact Business Dividend subtraction. Attach Schedule 1299-B.                      13                                 .00
14 High Impact Business Interest subtraction. Attach Schedule 1299-B.                      14                                 .00
15 Contribution subtraction. Attach Schedule 1299-B.                                       15                                 .00
16 Contributions to certain job training projects. See instructions.                       16                                 .00
17 Foreign Dividend subtraction. Attach Schedule J. See instructions.                      17                                 .00
18 Illinois Special Depreciation subtraction. Attach Form IL-4562.                         18                 50,604 .00
19 Related-Party Expenses subtraction. Attach Schedule 80/20.                              19                                 .00
20 Distributive share of subtractions. Attach Schedule(s) K-1-P or K-1-T.                  20                                 .00
                                                                         NT
21 Other subtractions. Attach Schedule M (for businesses).                                 21                                 .00
22 Total subtractions. Add Lines 10 through 21.                                                                                     22              50,604 .00
23 Base income or loss. Subtract Line 22 from Line 9.                                                                               23             370,005 .00

          A If the amount on Line 23 is derived inside Illinois only, check this box and enter the amount from Step 3, Line 23                                      X
            on Step 5, Line 35. You may not complete Step 4. (You must leave Step 4, Lines 24 through 34 blank.)
 STOP
              Note | If you are a unitary filer, do not check this box. Check the box on Line B and complete Step 4.
                                             IE

          B If any portion of the amount on Line 23 is derived outside Illinois, or you are a unitary filer, check this box and complete all lines of Step 4.
            (Do not leave Lines 28 through 30 blank.) See instructions.

Step 4: Figure your income allocable to Illinois (Complete only if you checked the box on Line B, above.)
 24 Nonbusiness income or loss. Attach Schedule NB.                                        24                                 .00
                                           CL



 25 Business income or loss included in Line 23 from non-unitary partnerships,
     partnerships included on a Schedule UB, S corporations, trusts, or
     estates. See instructions.                                                            25                                 .00
 26 Add Lines 24 and 25.                                                                                                            26                             .00
 27 Business income or loss. Subtract Line 26 from Line 23.                                                                         27                             .00
 28 Total sales everywhere. This amount cannot be negative.                                28
 29 Total sales inside Illinois. This amount cannot be negative.                           29
 30 Apportionment Factor. Divide Line 29 by Line 28. Round to six decimal places.          30
 31 Business income or loss apportionable to Illinois. Multiply Line 27 by Line 30.                                                 31                             .00
 32 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB.                                                           32                             .00
 33 Business income or loss apportionable to Illinois from non-unitary partnerships, partnerships
     included on a Schedule UB, S corporations, trusts, or estates. See instructions.                                               33                             .00
 34 Base income or loss allocable to Illinois. Add Lines 31 through 33.                                                             34                             .00




        Page 2 of 4   949402 01-08-20                                                                                               ID: 2BX IL-1120 (R-12/19)
       NORTH VILLAGE
          Case 23-09789SNOW
                         DocMANAGEMENT
                             1 Filed 07/27/23                                         Entered 07/27/23 11:24:25                                XX-XXXXXXX
                                                                                                                                              Desc Main
                                                             Document               Page 53 of 102

Step 5: Figure your net income
35 Base income or net loss from Step 3, Line 23, or Step 4, Line 34.                                                                    35             370,005 .00
36 Discharge of indebtedness adjustment. Attach federal Form 982. See instructions.                                                     36                                  .00
37 Adjusted base income or net loss. Add Lines 35 and 36. See instructions.                                                             37             370,005 .00
38 Illinois net loss deduction. Attach Schedule NLD or UB/NLD. If Line 37 is zero or a negative amount, enter zero.                     38                                  .00
39 Net income. Subtract Line 38 from Line 37.                                                                                           39             370,005 .00
Step 6: Figure your replacement tax after credits
40 Replacement tax. Multiply Line 39 by 2.5% (.025).                                                                                    40                   9,250 .00
41 Recapture of investment credits. Attach Schedule 4255.                                                                               41                                  .00
42 Replacement tax before credits. Add Lines 40 and 41.                                                                                 42                   9,250 .00
43 Investment credits. Attach Form IL-477.                                                                                              43                                  .00
44 Replacement tax after credits. Subtract Line 43 from Line 42. If the amount is negative, enter zero.                                 44                   9,250 .00




                                                                                                                  PY
Step 7: Figure your income tax after credits
45 Income tax. Multiply Line 39 by 7.00% (.07)                                                                                          45                25,900 .00
46 Recapture of investment credits. Attach Schedule 4255.                                                                               46                                  .00
47 Income tax before credits. Add Lines 45 and 46.                                                                                      47                25,900 .00
48 Income tax credits. Attach Schedule 1299-D.                                                                                          48                                  .00
                                                                                                                                                          25,900 .00




                                                                                              CO
49 Income tax after credits. Subtract Line 48 from Line 47. If the amount is negative, enter zero.                                      49

Step 8: Figure your refund or balance due
50 Replacement tax before reductions. Enter the amount from Line 44.                                                                50                       9,250 .00
51 Foreign Insurer replacement tax reduction. Attach Schedule INS or UB/INS. See instructions.                                      51                                      .00
52 Subtract Line 51 from Line 50. This is your net replacement tax.                                                                 52                     9,250 .00
53 Income tax before reductions. Enter the amount from Line 49.                                                                     53                    25,900 .00
54 Foreign Insurer income tax reduction. Attach Schedule INS or UB/INS. See instructions.                                           54                                      .00
                                                                                                                                                          25,900 .00
                                                                        NT
55 Subtract Line 54 from Line 53. This is your net income tax.                                                                      55
56 Compassionate Use of Medical Cannabis Program Act surcharge. See instructions .                                                  56                                      .00
57 Sale of assets by gaming licensee surcharge. See instructions.                                                                   57                                      .00
58 Total net income and replacement taxes and surcharges. Add Lines 52, 55, 56, and 57.                                             58                    35,150 .00
59 Underpayment of estimated tax penalty from Form IL-2220. See instructions.                                                       59                     1,471 .00
60 Total taxes, surcharges, and penalty. Add Lines 58 and 59.                                                                       60                    36,621 .00
                                            IE

61 Payments. See instructions.
   a Credits from previous overpayments.                                                61a                                  .00
    b Total payments made before the date this return is filed.                         61b                                  .00
    c Pass-through withholding reported to you on Schedule(s)
        K-1-P or K-1-T. Attach Schedule(s) K-1-P or K-1-T.                              61c                                  .00
                                          CL



   d Illinois gambling withholding. Attach Form(s) W-2G.                                61d                                  .00
62 Total payments. Add Lines 61a through 61d.                                                                                           62                                  .00

                                                                                                                                   ;<                                             ;<
63 Overpayment. If Line 62 is greater than Line 60, subtract Line 60 from Line 62.                                                      63                                  .00
64 Amount to be credited forward. See instructions.                                                                                     64                                  .00
65 Refund. Subtract Line 64 from Line 63. This is the amount to be refunded.                                                            65                                  .00
66 Complete to direct deposit your refund.
   Routing Number                                                                   Checking or             Savings
    Account Number


67 Tax due. If Line 60 is greater than Line 62, subtract Line 62 from Line 60. This is the amount you owe.                              67                36,621 .00

                             Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct and complete.
Step 9: Sign below -
Sign                                                                  PRESIDENT                            847-262-5529                           X     Check if the Department
                                                                                                                                                 may discuss this return with the
Here Signature of authorized officer           Date (mm/dd/yyyy) Title                                       Phone                               paid preparer shown in this step.
            VICKI M. MICHALSKI, CP                               VICKI M. MICHALSKI 08/25/2020                                                 Check if P00443402
Paid         Print/Type paid preparer's name                    Paid preparer's signature                      Date (mm/dd/yyyy) self-employed Paid Preparer's PTIN
Preparer     Firm's name | TIGHE,       KRESS & ORR, P.C.                                                             Firm's FEIN            | XX-XXXXXXX
Use Only     Firm's address | 2001    LARKIN AVENUE, SUITE 202
                                 ELGIN, IL                 60123                                                      Firm's phone | (847)                695-2700
                                     | Enter the amount of your payment on the top of page 1 in the space provided.


        IL-1120 (R-12/19) ID: 2BX       949403 01-08-20                                                                                                   Page 3 of 4
                Case 23-09789                 Doc 1            Filed 07/27/23 Entered 07/27/23 11:24:25                                                     Desc Main
                                                               Document      Page 54 of 102

                                                                                                                                                               Year ending
           Illinois Department of Revenue

           2019 IL-4562 Special Depreciation                                                                                                               12
                                                                                                                                                            Month
                                                                                                                                                                    2019
                                                                                                                                                                         Year
           For tax years ending on or after December 31, 2019.
           Attach to your Form IL-1120, IL-1120-ST, IL-1065, IL-1041, or IL-1040.                                                                         IL Attachment No. 11
Step 1:       Provide the following information

 NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                                  XX-XXXXXXX
Enter your name as shown on your return.                                                                                                    Enter your Social Security number (SSN) or
                                                                                                                                            federal employer identification number (FEIN).

 Special
            Note
                   ) You must read the instructions before completing Form IL-4562. Do not use negative figures.
Step 2:       Figure your Illinois special depreciation addition




                                                                                                                                  PY
 1      Enter the total amount claimed as a special depreciation allowance on federal Form 4562, Depreciation
        and Amortization, Line 14 or Line 25, for property acquired after September 10, 2001.                                                      1                              0.00
 2      Individuals only: Enter the total amount claimed as a special depreciation allowance from
        federal Form 2106, Employee Business Expenses.                                                                                             2
 3      Last year of regular depreciation: Enter the total amount of all Illinois depreciation
        subtractions claimed on prior year IL-4562 forms, Step 3, Line 8, for each property.                                                       3                    26,302.00




                                                                                                         CO
 4      Add Lines 1 through 3. This is your Illinois special depreciation addition. Enter the total here and
        see instructions for the list of Illinois form and line references to report this addition.                                                4                    26,302.00

Step 3:       Figure your Illinois special depreciation subtraction
 5 a Enter the portion of depreciation allowance claimed on federal Form 4562, Line 17, plus
     Line 19, Column g, plus Line 26, Column h, for property for which you claimed a special
     depreciation allowance on federal Form 4562, Line 14 or 25, for this tax year, or any other
        tax year ending after September 10, 2001, for bonus depreciation equal to 30 percent of
                                                                               NT
        your basis in the property.                                                                                                               5a
     b Individuals only: If you completed a federal Form 2106 for this tax year, enter the portion of
       any depreciation deductions included in Lines 4 and 38 for this tax year or any prior tax year
        for bonus depreciation equal to 30 percent of your basis in the property.                                                                 5b
     c Add Lines 5a and 5b.                                                                                                                       5c
                                              IE

 6      Multiply Line 5c by 42.9% (0.429).                                                                                                        6


 7 a Enter the portion of depreciation allowance claimed on federal Form 4562, Line 17, plus
     Line 19, Column g, plus Line 26, Column h, for property for which you claimed a special
        depreciation allowance on federal Form 4562, Line 14 or 25, for this tax year, or any other
                                            CL



        tax year ending after September 10, 2001, for bonus depreciation equal to 50 percent of
       your basis in the property.                                                                                                                7a                    19,272.00
     b Individuals only: If you completed a federal Form 2106 for this tax year, enter the portion
       of any depreciation deductions included in Lines 4 and 38 for this tax year or any prior tax year
        for bonus depreciation equal to 50 percent of your basis in the property.                                                                 7b
     c Add Lines 7a and 7b.                                                                                                                       7c                    19,272.00

 8      Add Lines 6 and 7c.                                                                                                                       8                     19,272.00

 9      Last year of regular depreciation:        Enter the Illinois special depreciation addition reported
        on any prior year Form IL-4562, Step 2, Line 1 plus Line 2, for each property. See instructions.                                          9                     31,332.00

10      Add Lines 8 and 9. This is your Illinois depreciation subtraction for this year. Enter the total here and
        see instructions for the list of Illinois form and line references to report this subtraction.                                           10                     50,604.00

                                                      J Attach this form to your Illinois return. §


                                                   This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                   information is REQUIRED. Failure to provide information could result in a penalty.


                                       949211
         IL-4562 (R-12/19)   ID: 2BX   01-07-20
               Case 23-09789                       Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                                       Desc Main
                                                                  Document      Page 55 of 102

           Illinois Department of Revenue
           2019 IL-2220 Computation of Penalties for Businesses
           Attach to your Form IL-1120, IL-1120-ST, IL-1065, IL-1041, or IL-990-T
           For tax years ending on or after December 31, 2019.                                                                                                                IL Attachment No. 19

Read this information first - We encourage you to let us figure your penalties and send you a bill instead of completing this form yourself.
You must complete this form if you are using the annualized income installment method for late-payment penalty for underpayment of
estimated tax in Step 6. You do not owe the late-payment penalty for underpayment of estimated tax if you made timely estimated installment
payments equaling at least 90 percent of this year's tax liability or 100 percent of the prior year's tax liability (provided you reported a liability
in the prior year and it was not a short taxable year). See the Specific Instructions for more information. The late-payment penalty for
underpayment of estimated tax is based on the tax shown due on your original return. Do not use the tax shown on an amended return filed
after the extended due date of the return to compute your required installments in Step 2.


Step 1: Provide the following information




                                                                                                                                   PY
 1 This form is for the 2019 calendar year or fiscal year beginning                                                             , and ending
                                                                                Month Day                                                            Month Day         Year


 2 Enter your FEIN as it appears on your annual return.                                   2 XX-XXXXXXX


 3 Enter your name as it appears on your annual return.                                   3 NORTH         VILLAGE SNOW MANAGEMENT GROUP




                                                                                                           CO
 4 If your prior year return was filed under a different FEIN
    than the one shown on Line 2, enter that number here.                                 4


Step 2: Figure your required installments - Form IL-1120 filers only
                                                                                                                                            A                                      B
                                                                                                                                        This year                              Last year
 5 Enter the total net income and replacement taxes and surcharges from Form IL-1120. If
   prior year's tax was zero or you filed a short year return, enter "N/A" in Column B. You
    may be required to make installments even if you enter "N/A" in Column B. See instructions.                           5                    35,150 .00                           14,699 .00
                                                                                    NT
 6 Enter the total amount of pass-through withholding and Illinois gambling withholding
   from Form IL-1120. See instructions.                                                                                   6                         0 .00
 7 Subtract Line 6 from Line 5, Column A.                                                                                 7                    35,150 .00
 8 Multiply Line 5, Column A, by 90% (.9).                                                                                8                    31,635 .00
 9 If Line 7, is $400 or less, enter zero and go to Step 3. Otherwise, enter the lesser of Line 8,
   or Line 5, Column B. (If Line 7 is more than $400 and you entered "N/A" in Line 5,
    Column B, enter the amount from Line 8.)                                                                                                   14,699 .00
                                                 IE

                                                                                                                          9
10 Divide the amount on Line 9 by four. This is the amount of each required installment.
   (If you used the annualized income installment method, see instructions for Line 12.)                                 10                          3,675 .00
11 Enter in Quarters 1 through 4, the                         Quarter 1                              Quarter 2                              Quarter 3                            Quarter 4
   installment date that corresponds
                                               CL



    with the 15th day of the 4th, 6th, 9th,
    and 12th month of your tax year.          11        04/15/19                               06/17/19                                   09/16/19                            12/16/19
12 Enter the required installment.
   See instructions.                  12                           3,674 .00                              3,675 .00                                  3,675 .00                        3,675 .00
13 Enter the amount of any pass-through
    and gambling withholding.
    See instructions.                         13                                    .00                                  .00                                     .00                            .00

14 Subtract Line 13 from Line 12. If the
   amount is negative, use brackets.     14                        3,674 .00                              3,675 .00                                  3,675 .00                        3,675 .00
15 If the amount on Line 16 of the
    previous quarter is negative,
    enter that amount as a positive
    here. Otherwise, enter zero.              15    Skip this line for Quarter 1.                                        .00                                     .00                            .00

16 Subtract Line 15 from Line 14. If
   the amount is negative, use brackets. 16                        3,674 .00                              3,675 .00                                  3,675 .00                        3,675 .00




         949441 01-08-20  ID: 2BX                           This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
         IL-2220 (R-12/19)                                  information is REQUIRED. Failure to provide information could result in a penalty.                                  Page 1 of 4
               Case 23-09789                  Doc 1           Filed 07/27/23 Entered 07/27/23 11:24:25                                  Desc Main
                                                              Document      Page 56 of 102



Step 3: Figure your unpaid tax - all taxpayers
17 Enter your total net income and replacement tax, surcharge, and pass-through withholding you owed
   and reported on behalf of your members. See instructions.                                                                            17               35,150 .00
18 a Enter the total amount of all payments made on or before the original due date of your
     tax return. Include credit(s) carried forward from a prior year (see instructions); total
       estimated payments, prepayments, extension payments or annual payments made
       with your tax return; pass-through withholding reported on your behalf; and
       withholding shown on your W-2G or 1099 forms.                                                  18a                         .00

    b Form IL-1120 filers only: Enter the total of all Columns, Line 12. All others, enter zero.      18b           14,699 .00
    Enter the greater of Line 18a or Line 18b here.                                                                                     18               14,699 .00
19 Subtract Line 18 from Line 17. If this amount is




                                                                                                               PY
   -positive, enter that amount here. Continue to Step 4 and enter this amount in
     Penalty Worksheet 2, Line 23, Column C.
    -zero or negative, enter that amount here and, if negative, use brackets.                                                           19               20,451 .00


Step 4: Figure your late-payment penalty
Use Penalty Worksheet 1 to figure your late-payment penalty for underpayment of estimated tax.




                                                                                                   CO
Use Penalty Worksheet 2 to figure your late-payment penalty for unpaid tax.

       You must follow the instructions in order to properly complete the penalty worksheets.

20 Enter the amount and the date of each payment you made. Include any credit(s) carried forward from a prior year. See instructions.
           Amount                      Date paid                      Amount                       Date paid               Amount                      Date paid

a                                                         e                                                     i
b                                                         f                                                     j
                                                                          NT
c                                                         g                                                     k
d                                                         h                                                     l


                                        Number of days late Penalty rate
      Penalty rates                          1 - 30 ~~~~~~~ .02
                                           31 or more ~~~~~~ .10
                                              IE
                                            CL




             949442 01-08-20                                                                                                                 ID: 2BX
         Page 2 of 4                                                                                                                         IL-2220 (R-12/19)
                Case 23-09789                  Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                    Desc Main
                                                             Document      Page 57 of 102


Penalty Worksheet 1 - Late-payment penalty for underpayment of estimated tax - Form IL-1120 filers only
  If you paid the required amount from Line 16 by the payment due date on Line 11 for each quarter, do not complete this worksheet.

21 Enter the unpaid amounts from Line 16, Quarters 1 through 4, on the first line of the appropriate quarters in Column C below.

  A             B                      C                         D                        E                       F             G           H               I
               Due                   Unpaid                   Payment                Balance due              Payment         No. of Penalty rate
Period         date                  amount                    applied             (Col. C - Col. D)            date         days late (see above)        Penalty


Qtr. 1           SEE STATEMENT 1




                                                                                                                 PY
Qtr. 2




Qtr. 3




                                                                                              CO
Qtr. 4




22 Add Column I, Quarters 1 through 4. This is your late-payment penalty for underpayment of estimated tax.
   Enter the total amount here and on Form IL-1120, Step 8, Line 59.                                                                            22              1,471
                                                                            NT
         You may apply any remaining overpayment from the 4th quarter in Column E above to any underpayment when figuring
         Penalty Worksheet 2, only if the payment date shown in the 4th quarter of Column F is after the original due date of the return.

Penalty Worksheet 2 - Late-payment penalty for unpaid tax
23 Enter any positive amount from Line 19 on the first line of Column C below.
  A               B                     C                        D                        E                       F             G           H               I
                                              IE

                 Due                  Unpaid                  Payment                Balance due              Payment         No. of Penalty rate
                 date                 amount                   applied             (Col. C - Col. D)            date         days late (see above)        Penalty


Return
                                            CL



24 Add Column I. This is your late-payment penalty for unpaid tax.
   Enter the total amount here and on Step 5, Line 28.                                                                                          24

Step 5: Figure your late-filing penalty, total penalties, and the amount you owe
Complete Lines 25 through 27 to figure your late-filing penalty only if
              ¥ you are filing your return after the extended due date; and
              ¥ your tax was not paid by your original due date.
25 Enter the amount of your tax due from your return. See instructions.                                                                  25                         .00

26 Multiply the amount on Line 25 by 2% (.02).                                                                                           26                         .00

27 Enter the lesser of Line 26 or $250. This is your late-filing penalty.                                                                27                         .00

28 Enter your late-payment penalty for unpaid tax from Line 24.                                                                          28                         .00

29 If you have an overpayment on your tax return*, enter that amount as a <negative number>.
   If you have an amount due on your tax return*, enter that amount here.                                                                29                36,621
   * See instructions for the correct line references for all tax returns.
30 Add Lines 27, 28, and 29. If the result is positive, this is the total amount you owe. If the result is negative, this is the
   amount you are overpaid.                                                                                                              30                36,621
           This amount may not match your overpayment or tax due on your original tax form. Pay the amount on
           Line 30 if you wish to pay your penalties at this time. Otherwise, we will send you a bill.
          IL-2220 (R-12/19) ID: 2BX                                                                                                                  Page 3 of 4
          949443 01-08-20
               Case 23-09789                   Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                                             Desc Main
                                                             Document      Page 58 of 102



Step 6: Complete the annualization worksheet for Step 2, Line 12
Complete this worksheet if your income was not received evenly throughout the year and you choose to annualize your income. Beginning
with Column A, complete Lines 31 through 51 of each column. If you fail to complete all lines of Step 6, Lines 31 through 51, Columns A
through D, we may disregard your election to annualize your income and calculate your late-payment penalty for underpayment of estimated tax
based on four equal installments.
                                                             A                                 B                                C                                   D
                                                                                         First 3 months                   First 6 months                     First 9 months
31 Enter your Illinois net income for
                                                      For Column A
   each period. If negative, enter zero. 31         only: Go directly to                                        .00                               .00                                .00

32 Annualization factors                 32               Line 34                                          4                                 2                           1.33333
33 Multiply Line 31 by Line 32.          33     L                      L                                        .00                               .00                                .00




                                                                                                                      PY
34 Enter your Illinois net income for                 First 3 months                     First 5 months                   First 8 months                    First 11 months
    each period. If negative, enter zero. 34                                   .00                              .00                               .00                                .00

35 Annualization factors                 35                                4                              2.4                               1.5                          1.09091
36 Multiply Line 34 by Line 35.          36                                    .00                              .00                               .00                                .00

37 In Column A, enter the amount
   from Line 36, Column A. In Columns




                                                                                                   CO
    B, C, and D, enter the lesser of
    Line 33 or 36 for each period.       37                                    .00                              .00                               .00                                .00

38 Net replacement tax for the period.
    See instructions.                    38                                    .00                              .00                               .00                                .00

39 Net income tax for the period. See
   instructions.                      39                                       .00                              .00                               .00                                .00

40 Cannabis surcharge for the period.
   See instructions.                  40                                       .00                              .00                               .00                                .00
                                                                             NT
41 Sale of Assets by Gaming Licensee
    surcharge for the period.
    See instructions.                    41                                    .00                              .00                               .00                                .00

42 Add Lines 38, 39, 40, and 41.         42                                    .00                              .00                               .00                                .00

43 Applicable percentage                 43                  22.5% (.225)                          45% (.45)                    67.5% (.675)                             90% (.9)
44 Multiply Line 42 by Line 43. This
                                                 IE

   is your annualized installment.       44                                    .00                              .00                               .00                                .00

45 Add the amounts on Line 51 of
   each of the preceding columns
    and enter the total here.            45     Do not write on this line.                                      .00                               .00                                .00

46 Subtract Line 45 from Line 44.
                                               CL



   If less than zero, enter zero.        46                                    .00                              .00                               .00                                .00

47 See instructions.                     47                                    .00                              .00                               .00                                .00

48 Enter the amount from Line 50
    of the preceding column.             48     Do not write on this line.                                      .00                               .00                                .00

49 Add Lines 47 and 48.                  49                                    .00                              .00                               .00                                .00

50 If Line 49 is greater than Line 46,
    subtract Line 46 from Line 49.
   Otherwise, enter zero.                50                                    .00                              .00                               .00   Do not write on this line.
51 Enter the lesser of Line 46 or 49
   here and on Step 2, Line 12.
    This is your required installment.   51                                    .00                              .00                               .00                                .00

                                                Go to Column B, Line 31              Go to Column C, Line 31          Go to Column D, Line 31




         949444 01-08-20

         Page 4 of 4                                                                                                                       ID: 2BX IL-2220 (R-12/19)
         Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 59 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM IL-2220                   PENALTY WORKSHEET 1               STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
A          B           C        D         E          F       G    H      I

PERIOD   DUE DATE   UNPAID   PAYMENT BALANCE DUE PAYMENT DAYS RATE PENALTY
                    AMOUNT   APPLIED (COL C - D)    DATE   LATE
}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}} }}}}}}}}}} }}}}}}}}}} }}} }}}} }}}}}}}}}
QTR. 1 04/15/2019      3,674        0      3,674 04/15/2020 366 .10        367
QTR. 2 06/15/2019      3,675        0      3,675 04/15/2020 305 .10        368
QTR. 3 09/15/2019      3,675        0      3,675 04/15/2020 213 .10        368
QTR. 4 12/15/2019      3,675        0      3,675 04/15/2020 122 .10        368
                                                                     }}}}}}}}}
 TOTAL TO IL-2220, LINE 22                                               1,471




                                                         PY
                                                                     ~~~~~~~~~




                                                CO
                                     NT
                           IE
                         CL




                                                                         STATEMENT(S) 1
   Case 23-09789         Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25                    Desc Main
                                    Document      Page 60 of 102




August 15, 2021



North Village Snow Management Group
1842 S. Elmhurst Road
Mount Prospect, IL 60056




                                                                             PY
Dear Sean:

We have prepared the following returns from information provided by you without verification or audit:

2020 U.S. Corporation Income Tax Return




                                                              CO
2020 Corporation Application for a Tentative Refund
2020 Illinois Corporation Income Tax Return
The enclosed Form 2848 should be signed by the appropriate corporate officer(s).


We suggest that you examine these returns carefully to fully acquaint yourself with all items
contained therein to ensure that there are no omissions or misstatements. Attached are
instructions for signing and filing each return. Please follow those instructions carefully.
                                              NT
Also enclosed is any material you furnished for use in preparing the returns. If the returns are
examined, requests may be made for supporting documentation. Therefore, we recommend that
you retain all pertinent records for at least seven years.

In order that we may properly advise you of tax considerations, please keep us informed of any
significant changes in your financial affairs or of any correspondence received from taxing
                                     IE

authorities.

If you have any questions or if we can be of assistance in any way, please do not hesitate to call.
                        CL


Very Truly Yours,




Tighe, Kress & Orr, P.C.




      2001 LARKIN AVENUE • SUITE 202 • ELGIN, IL 60123 • P: 847.695.2700 • F: 847.695.2748 • WWW.TKOCPA.COM
             CHICAGO                             ELGIN                           ST. CHARLES
Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                        Document      Page 61 of 102




                                                    PY
                  2020 Corporate Income Tax Return


                North Village Snow Management Group




                                          CO
                               NT
                        IE
                CL
   Case 23-09789         Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25                  Desc Main
                                    Document      Page 62 of 102




                                             PRIVACY POLICY




                                                                            PY
CPAs, like all providers of personal financial services, are now required by law to inform their clients of
their policies regarding privacy of client information. CPAs have been and continue to be bound by
professional standards of confidentiality that are even more stringent than those required by law.
Therefore, we have always protected your right to privacy.

                  TYPES OF NONPUBLIC PERSONAL INFORMATION WE COLLECT




                                                                 CO
We collect nonpublic personal information about you that is either provided to us by you or obtained by us
with your authorization.

                          PARTIES TO WHOM WE DISCLOSE INFORMATION

For current and former clients, we do not disclose any nonpublic personal information obtained in the
course of our practice except as required or permitted by law. Permitted disclosures include, for instance,
providing information to our employees and, in limited situations, to unrelated third parties who need to
know that information to assist us in providing services to you. In all such situations, we stress the
                                              NT
confidential nature of information being shared.

              PROTECTING THE CONFIDENTIALITY AND SECURITY OF CURRENT AND
                             FORMER CLIENTS' INFORMATION

We retain records relating to professional services that we provide so that we are better able to assist you
                                     IE

with your professional needs and, in some cases, to comply with professional guidelines. In order to
guard your nonpublic personal information, we maintain physical, electronic, and procedural safeguards
that comply with our professional standards.

                                                 *************
                        CL



Please call if you have any questions, because your privacy, our professional ethics, and the ability to
provide you with quality financial services are very important to us.
  Case 23-09789         Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25         Desc Main
                                   Document      Page 63 of 102

                        TAX RETURN FILING INSTRUCTIONS
                      CORPORATION APPLICATON FOR A TENTATIVE REFUND

                                    FOR THE YEAR ENDING
                                           December 31, 2020

Prepared For:


                North Village Snow Management Group
                1842 S. Elmhurst Road
                Mount Prospect, IL 60056




                                                                             PY
Prepared By:

                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                            CO
Amount of Refund:

                $141,992

Mail Tax Return To:

                Department of the Treasury
                Internal Revenue Service Center
                Kansas City, MO 64999-0012
                                            NT
Return Must be Mailed On or Before:

                Please mail as soon as possible after the original return.
                                   IE

Special Instructions:

                Do not file Form 1139 with the original return.
                        CL



                This form must be signed by the appropriate corporate officer(s).
  Case 23-09789         Doc 1     Filed 07/27/23 Entered 07/27/23 11:24:25               Desc Main
                                  Document      Page 64 of 102



                        TAX RETURN FILING INSTRUCTIONS
                POWER OF ATTORNEY AND DECLARATION OF REPRESENTATIVE

                                   FOR THE YEAR ENDING
                                           December 31, 2020

Prepared For:


                North Village Snow Management Group
                1842 S. Elmhurst Road




                                                                       PY
                Mount Prospect, IL 60056

Prepared By:

                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                          CO
Mail Tax Return To:

                Internal Revenue Service
                5333 Getwell Road
                Stop 8423
                Memphis, TN 38118
                                           NT
Return Must be Mailed On or Before:

                Please mail as soon as possible.

Special Instructions:
                                   IE

                Form(s) 2848 should be signed by the appropriate corporate officer(s).
                        CL
  Case 23-09789           Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25             Desc Main
                                       Document      Page 65 of 102

                     2020 TAX RETURN FILING INSTRUCTIONS
                                U.S. CORPORATION INCOME TAX RETURN

                                        FOR THE YEAR ENDING
                                               December 31, 2020

Prepared For:


                North Village Snow Management Group
                1842 S. Elmhurst Road
                Mount Prospect, IL 60056

Prepared By:




                                                                          PY
                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                            CO
To be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $                            0
                Less: payments and credits          $                            0
                Plus: interest and penalties        $                            0
                                               NT
                No payment required                 $

Overpayment:
                Not applicable

Make Check Payable To:
                                        IE

                Not Applicable

Mail Tax Return and Check (if applicable) To:
                        CL



                This return has qualified for electronic filing. The return has been transmitted
                electronically to the IRS, and no further action is required.

Return Must be Mailed on or Before:

                Not Applicable

Special Instructions:
           Case 23-09789     Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25         Desc Main
                                     Document      Page 66 of 102
                                            CORPORATION
                                      Two-Year Comparison                                             2020
Name                                                                                Employer Identification Number

  NORTH VILLAGE SNOW MANAGEMENT GROUP                                                 XX-XXXXXXX

                                                                                                    Increase
                    Description                       Prior Year     Current Year                  (Decrease)

INCOME:

GROSS RECEIPTS OR SALES LESS
  RETURNS AND ALLOWANCES                            3,114,713.      1,325,083.                -1,789,630.
COST OF GOODS SOLD                                  1,045,222.        877,523.                  -167,699.
GROSS PROFITS                                       2,069,491.        447,560.                -1,621,931.




                                                                   PY
NET GAIN (LOSS) FROM FORM 4797                         15,398.              0.                   -15,398.
  TOTAL INCOME                                      2,084,889.        447,560.                -1,637,329.

DEDUCTIONS:

COMPENSATION OF OFFICERS                               154,000.                      0.            -154,000.




                                                       CO
SALARIES AND WAGES LESS
  EMPLOYMENT CREDITS                                  732,306.        398,776.                     -333,530.
REPAIRS AND MAINTENANCE                                71,499.         27,253.                      -44,246.
RENTS                                                  38,400.         41,675.                        3,275.
TAXES AND LICENSES                                    104,839.         49,235.                      -55,604.
INTEREST                                               21,340.         24,171.                        2,831.
CHARITABLE CONTRIBUTIONS                                1,385.              0.                       -1,385.
DEPRECIATION                                          266,936.        281,604.                       14,668.
                                            NT
ADVERTISING                                                 0.         12,245.                       12,245.
EMPLOYEE BENEFIT PROGRAMS                               8,501.         10,767.                        2,266.
OTHER DEDUCTIONS                                      291,376.        264,703.                      -26,673.
  TOTAL DEDUCTIONS                                  1,690,582.      1,110,429.                     -580,153.

TAXABLE INCOME:
                              IE

TAXABLE INCOME BEFORE NOL DEDUCTION
  AND SPECIAL DEDUCTIONS                               394,307.       -662,869.               -1,057,176.
  TAXABLE INCOME                                       394,307.       -662,869.               -1,057,176.
                            CL



TAX COMPUTATION:

INCOME TAX                                               82,804.                     0.              -82,804.
  TAX BEFORE CREDITS                                     82,804.                     0.              -82,804.

EFFECTIVE TAX RATE                                     20.9999%          0.0000%                   -20.9999%
MARGINAL TAX RATE                                      21.0000%          0.0000%                   -21.0000%

    TAX AFTER CREDITS                                    82,804.                     0.              -82,804.

    TOTAL TAX                                            82,804.                     0.              -82,804.

PAYMENTS AND CREDITS:

BALANCE DUE OR REFUND:




012841
04-01-20
           Case 23-09789     Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25         Desc Main
                                     Document      Page 67 of 102
                                            CORPORATION
                                      Two-Year Comparison                                             2020
Name                                                                                Employer Identification Number

  NORTH VILLAGE SNOW MANAGEMENT GROUP                                                 XX-XXXXXXX

                                                                                                    Increase
                    Description                       Prior Year     Current Year                  (Decrease)


ESTIMATED TAX PENALTY                                     1,169.                     0.               -1,169.
  AMOUNT OWED                                            83,973.                     0.              -83,973.

SCHEDULE M-1:




                                                                   PY
NET INCOME (LOSS) PER BOOKS                            392,177.       -477,192.                 -869,369.
BOOK EXPENSES NOT ON RETURN                              2,130.          1,223.                     -907.
INCOME ON BOOKS NOT ON RETURN                                0.        186,900.                  186,900.
INCOME PER RETURN                                      394,307.       -662,869.               -1,057,176.

SCHEDULE M-2:




                                                       CO
BALANCE AT BEGINNING OF YEAR -
  UNAPPROPRIATED RETAINED EARNINGS                     261,189.        653,366.                     392,177.
NET INCOME (LOSS) PER BOOKS                            392,177.       -477,192.                    -869,369.
BALANCE AT END OF YEAR -
  UNAPPROPRIATED RETAINED EARNINGS                     653,366.        176,174.                    -477,192.
                                            NT
                              IE
                            CL




012841
04-01-20
                  Case 23-09789                Doc 1            Filed 07/27/23 Entered 07/27/23 11:24:25                                   Desc Main
                                                                Document      Page 68 of 102

       8879-C                      IRS e-file Signature Authorization for Form 1120                                                                    OMB No. 1545-0123

Form



Department of the Treasury
Internal Revenue Service
                                 For calendar year 2020, or tax year beginning            , 2020, ending

                                                           | Do not send to the IRS. Keep for your records.
                                                                                                                              , 20
                                                                                                                                                        2020
                                                    | Go to www.irs.gov/Form8879C for the latest information.
Name of corporation                                                                                                                   Employer identification number
                      NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                              XX-XXXXXXX
 Part I            Tax Return Information (Whole dollars only)
  1 Total income (Form 1120, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               1              447,560.
  2 Taxable income (Form 1120, line 30) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              2             -662,869.
  3 Total tax (Form 1120, line 31) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               3
  4 Amount owed (Form 1120, line 35) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                4
  5 Overpayment (Form 1120, line 36)                                                                 5
 Part II           Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.




                                                                                                                 PY
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's 2020 electronic
income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct, and complete. I further
declare that the amounts in Part I above are the amounts shown on the copy of the corporation's electronic income tax return. I consent to allow my
electronic return originator (ERO), transmitter, or intermediate service provider to send the corporation's return to the IRS and to receive from the
IRS (a) an acknowledgement of receipt or reason for rejection of the transmission, (b) the reason for any delay in processing the return or refund, and
(c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal
(direct debit) entry to the financial institution account indicated in the tax preparation software for payment of the corporation's federal taxes owed




                                                                                           CO
on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial
Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve issues related to
the payment. I have selected a personal identification number (PIN) as my signature for the corporation's electronic income tax return and, if
applicable, the corporation's consent to electronic funds withdrawal.

Officer's PIN: check one box only

       X I authorize TIGHE, KRESS & ORR, P.C.                                                                                        to enter my PIN        26240
                                                                                 NT
                                                               ERO firm name                                                                            do not enter all zeros
             as my signature on the corporation's 2020 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation's 2020 electronically filed income tax return.


Officer's signature |                                                            Date |                             Title | PRESIDENT

 Part III          Certification and Authentication
                                               IE

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                   36803436365
                                                                                                           do not enter all zeros
I certify that the above numeric entry is my PIN, which is my signature on the 2020 electronically filed income tax return for the corporation indicated
                                             CL



above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO's signature | TIGHE,            KRESS & ORR, P.C.                                                           Date |     08/15/21

                                             ERO Must Retain This Form - See Instructions
                                     Do Not Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see instructions.                                                                                              Form 8879-C (2020)
LHA




010211 11-03-20
                   Case 23-09789                        Doc 1           Filed 07/27/23 Entered 07/27/23 11:24:25                                                      Desc Main
                                                                        Document      Page 69 of 102

Form       1139                                                    Corporation Application for Tentative Refund
(Rev. October 2018)                                         | Go to www.irs.gov/Form1139 for instructions and the latest information.                                            OMB No. 1545-0123
Department of the Treasury
                                                             | Do not file with the corporation's income tax return - file separately.
Internal Revenue Service                                             | Keep a copy of this application for your records
Name                                                                                                                                               Employer identification number
       NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                              XX-XXXXXXX
Number, street, and room or suite no. If a P.O. box, see instructions.                                                                             Date of incorporation
       1842 S. ELMHURST ROAD                                                                                                                            02/26/2010
City or town, state, and ZIP code                                                                                                                  Daytime phone number
       MOUNT PROSPECT, IL                                     60056                                                                   866-667-8414
  1 Reason(s) for filing.                   a Net operating loss (NOL)  |                        $            662,869. c Unused general
                                                                                                                                business credit | $
    See instructions -
    attach computation           b Net capital loss  |                                       $                                   d Other  | $
  2 Return for year of loss, unused credit, or          a Tax year ended                                b Date tax return filed             c Service center where filed
    overpayment under section 1341(b)(1)  | 12/31/20                                                                                          KANSAS CITY, MO




                                                                                                                                       PY
  3 If this application is for an unused credit created by another carryback, enter ending date for the tax year of the first carryback ~~~~~~ |
  4 Did a loss result in the release of a foreign tax credit, or is the corporation carrying back a general business credit that was released
      because of the release of a foreign tax credit? If "Yes," the corporation must file an amended return to carry back the released credits                                Yes         X No
  5a Was a consolidated return filed for any carryback year or did the corporation join a consolidated group? ~~~~~~~~~~~~                                                    Yes         X No
   b If "Yes," enter the tax year ending date and the name of the common parent and its EIN, if different from above ~ |

                                                                                                                                                                                          X No




                                                                                                                CO
  6a If Form 1138 has been filed, was an extension of time granted for filing the return for the tax year of the NOL? ~~~~~~~~~                                               Yes
   b If "Yes," enter the date to which extension was granted |                                       c Enter the date Form 1138 was filed |
   d Unpaid tax for which Form 1138 is in effect ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ | $
  7 If the corporation changed its accounting period, enter the date permission to change was granted ~~~~~~~~~~~~~~ |
  8 If this is an application for a dissolved corporation, enter date of dissolution ~~~~~~~~~~~~~~~~~~~~~~~~ |
 9 Has the corporation filed a petition in Tax Court for the year or years to which the carryback is to be applied? ~~~~~~~~~~                                                Yes         X No
10 Is any part of the decrease in tax due to a loss or credit resulting from a reportable transaction required to be
      disclosed? If Yes, attach Form 8886                                                           Yes         X No
Computation of Decrease in Tax 3RD                                                 2ND                                      1ST
                                                                                        NT
          See instructions.                          preceding                                preceding                                preceding
Note: If only filing for an unused        tax year ended  |  12/31/17              tax year ended  |  12/31/18              tax year ended  | 12/31/19
      general business credit (line 1c),
      skip lines 11 through 15.          (a) Before carryback (b) After carryback (c) Before carryback (d) After carryback (e) Before carryback (f) After carryback
 11 Taxable income from tax return            45,082.              45,082.            204,156.           204,156.             394,307.             394,307.
 12 Capital loss carryback ~
13    Subtract line 12 from line 11 ~                                        45,082.                                              204,156.                                            394,307.
14 NOL deduction ~~~~                                                        45,082.                                              204,156.                                            394,307.
                                                       IE

   Taxable income. Subtract line
15 14 from line 13 ~~~~~                                                          0.                                                    0.                                                  0.
16 Income tax            ~~~~~                      16,315.                       0.                    33,320.                         0.                   82,804.                        0.
17    Alternative minimum tax ~~                     9,553.
      Base erosion minimum tax
18    ( Attach Form 8991) ~~~~
                                                     CL



19    Add lines 16 and 18 ~~~~                      25,868.                               0.            33,320.                                 0.           82,804.                           0.
20    General business credit     ~~
21    Other credits ~~~~~~
      Total credits. Add
22    lines 20 and 21 ~~~~~
23    Subtract line 22 from line 19 ~               25,868.                               0.            33,320.                                 0.           82,804.                           0.
      Personal holding company tax
24    (Sch. PH (Form 1120)) ~~~
25    Other taxes ~~~~~~~

26
      Total tax liability.
      Add lines 23 through 25 ~~                    25,868.                               0.            33,320.                                 0.           82,804.                           0.
27
      Enter amount from "After carryback"
      column on line 26 for each year ~~                 0.                                                  0.                                                   0.
28
      Decrease in tax. Subtract
      line 27 from line 26 ~~~~                     25,868.                                             33,320.                                              82,804.
29 Overpayment of tax due to a claim of right adjustment under section 1341(b)(1) (attach computation)                            
                             Under penalties of perjury, I declare that I have examined this application and accompanying schedules and statements, and to the best of my knowledge



                      =                                                                                              =                                  =
                             and belief, they are true, correct, and complete.
Sign                                                                                                                                                          PRESIDENT
Here                         Signature of officer                                                                          Date                               Title


      Print/Type preparer's name                                            Preparer's signature
                                                                                                                                    Date                                     PTIN
                                                                                                                                                          Check if
Paid
Pre- VICKI M. MICHALSKI, CPA  VICKI M. MICHALSKI, C 08/15/21              P00443402                                                                       self-
                                                                                                                                                          employed

Use          TIGHE, KRESS & ORR, P.C.
parer Firm's name
                   |                                         Firm's EIN | XX-XXXXXXX
Only
             2001 LARKIN AVENUE, SUITE 202
      Firm's address |                                       Phone no.
             ELGIN, IL 60123                                        (847) 695-2700
012471
04-01-20    LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                             Form 1139 (Rev. 10-2018)
                  Case 23-09789                            Doc 1       Filed 07/27/23             Entered 07/27/23 11:24:25                   Desc Main
                                NORTH VILLAGE SNOW MANAGEMENT
                                               Document       GROUP
                                                         Page 70 of 102                                                                      XX-XXXXXXX
Form   1120-W                For calendar year 2021, or tax year    Estimated Tax for Corporations                                                 OMB No. 1545-0123
                                   beginning                                              , and ending
     (WORKSHEET)
Department of the Treasury
Internal Revenue Service
                                                          | Go to www.irs.gov/Form1120W for instructions and the latest information.
                                                    | Keep for the corporation's records - Do not send to the Internal Revenue Service.
                                                                                                                                                      2021
       Estimated Tax Computation

  1 Taxable income expected for the tax year ~~~~~~~~~~~~~~~~~~~~~                                             1


  2 Multiply line 1 by 21% (0.21) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  2


  3 Tax credits. See instructions             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3


  4 Subtract line 3 from line 2           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         4




                                                                                                                         PY
  5 Other taxes. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  5


  6 Total tax. Add lines 4 and 5              ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      6


  7 Credit for federal tax paid on fuels and other refundable credits. See instructions ~~~~~~~~~~~~~~~~~~~~                                  7
  8 Subtract line 7 from line 6. Note: If the result is less than $500, the corporation is not required




                                                                                                       CO
       to make estimated tax payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               8
  9a Enter the tax shown on the corporation's 2020 tax return. See instructions. Caution: If the tax is zero or
     the tax year was for less than 12 months, skip this line and enter the amount from line 8 on line 9b ~~~~~~~~~~~~                       9a
   b Enter the smaller of line 8 or line 9a. If the corporation is required to skip line 9a, enter the
     amount from line 8                                                                        9b
                                                                             (a)                         (b)                           (c)              (d)
10 Installment due dates. See
   instructions ~~~~~~~~~~ |                                   10     04/15/2021                06/15/2021                  09/15/2021            12/15/2021
                                                                                    NT
11 Required installments. Enter 25%
   of line 9b in columns (a) through (d).
   If the corporation uses the annualized
   income installment method, or
   adjusted seasonal installment method,
   or is a "large corporation," see the
   instructions for the amount to enter                       11                       0.                         0.                        0.                 0.
                                                                                                                                                       1120-W
                                                           IE

LHA        For Paperwork Reduction Act Notice, see instructions.                                                                                  Form        (2021)

AMOUNT ALREADY PAID                                                                0.        TOTAL OVERPAYMENT                                                0.
OVERPAYMENT APPLIED                                                                0.        AMOUNT REFUNDED                                                  0.
NO. OF INSTALLMENTS REQUIRED                                                   4
                                                         CL




011661
12-08-20
                                                                               Case 23-09789                             Doc 1    Filed 07/27/23 Entered 07/27/23 11:24:25                                                     Desc Main
                                                                                                                            U.S. Corporation
                                                                                                                                  Document      Income   Tax
                                                                                                                                                Page 71 of 102Return
                                                                     1120
                                                                                                                                                                                                                                                   OMB No. 1545-0123

Form                                                                                      For calendar year 2020 or tax year beginning                                                    , ending

Department of the Treasury
Internal Revenue Service                                                                                                   | Go to www.irs.gov/Form1120 for instructions and the latest information.                                                2020
A Check if:                                                                                                      Name                                                                                                               B Employer identification number
1a Consolidated return
   (attach Form 851) ......                                                                                              NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                            XX-XXXXXXX
 b Life/nonlife consoli-                                                                         TYPE                                                                                                                               C Date incorporated
   dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
2 Personal holding co.                                                                           OR
   (attach Sch. PH) ........
                                                                                                 PRINT
                                                                                                                         1842 S. ELMHURST ROAD                                                                                          02/26/2010
3 Personal service corp.                                                                                                                                                                                                            D Total assets (see instructions)
   (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
4 Schedule M-3
   attached ...................                                                                                          MOUNT PROSPECT, IL                                      60056                                              $         1,117,217.
                                                                                                   E Check if: (1)                 Initial return   (2)         Final return      (3)          Name change      (4)     Address change
                                                                      1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1a        1,325,083.
                                                                        b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 1b
                                                                       c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1c             1,325,083.
                                                                      2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2               877,523.
                                                                                                                                                                                                                                                447,560.




                                                                                                                                                                                                       PY
                                                                      3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
                                                                      4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Income




                                                                                                                                                                                                                                4
                                                                      5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              5
                                                                      6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                      7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                      8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8




                                                                                                                                                                                  CO
                                                                      9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9
                                                                     10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 10
                                                                     11 Total income. Add lines 3 through 10                        |                                                        11                  447,560.
                                                                     12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                        12
                                                                                                                                                                                                                                                   398,776.
      Deductions (See instructions for limitations on deductions.)




                                                                     13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                     14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14                   27,253.
                                                                     15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15
                                                                     16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16                     41,675.
                                                                                                                     SEE STATEMENT 1                                                                                                                  49,235.
                                                                                                                                                           NT
                                                                     17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17
                                                                     18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18                     24,171.
                                                                     19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    19
                                                                     20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20                  281,604.
                                                                     21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                     22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22                     12,245.
                                                                                                                         IE

                                                                     23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23
                                                                     24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24                     10,767.
                                                                     25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                     26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     SEE STATEMENT 2                                          26               264,703.
                                                                     27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                           27             1,110,429.
                                                                                                                       CL



                                                                     28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28              -662,869.
                                                                     29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                                 29a
                                                                        b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~                                                     29b
                                                                       c Add lines 29a and 29b                                                                                     29c
                                                                     30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30               -662,869.
 Tax, Refundable Credits,




                                                                     31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                      0.
                                                                     32 2020 net 965 tax liability paid (Schedule J, Part II, line 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             32
      and Payments




                                                                     33 Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~                                             33
                                                                     34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~ |                                                            34
                                                                     35 Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed ~~~~~~~~~~~~                                              35                                  0.
                                                                     36 Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid ~~~~~~~~~~~~                                           36
                                                                     37 Enter amount from line 36 you want: Credited to 2021 estimated tax |                                                                 Refunded    |     37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                             correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                        May the IRS discuss this



                                                                            =                                                                                                    =PRESIDENT
                                                                                                                                                                                                                                            return with the preparer
                                                                                                                                                                                                                                            shown below?
Here                                                                                                                                                                                                                                            X Yes
                                                                                Signature of officer                                                  Date                                                                                                          No
                                                                                                                                                                                  Title
                                                                            Print/Type preparer's name                                                    Preparer's signature                         Date              Check              PTIN
Paid     VICKI M. MICHALSKI, CPA              VICKI M. MICHALSKI 08/15/21              P00443402                                                                                                                         if self-
                                                                                                                                                                                                                         employed

Preparer Firm's name |   TIGHE, KRESS &  ORR,  P.C.                       Firm's EIN | XX-XXXXXXX
Use Only Firm's address |2001 LARKIN AVENUE,   SUITE 202                  Phone no.
                         ELGIN, IL 60123                                         (847) 695-2700
011601
12-18-20                                                                  LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                        Form 1120 (2020)
                   Case 23-09789               Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                         Desc Main
                                                             Document      Page 72 of 102
           NORTH VILLAGE SNOW MANAGEMENT GROUP
Form 1120 (2020)                                                                                                                XX-XXXXXXX Page 2
  Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                  (c) Special deductions
                       (see instructions)                                                                              (b) %
                                                                                                     inclusions                            (a) x (b)
 1 Dividends from less-than-20%-owned domestic corporations (other than
   debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
 2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
   stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                          See
                                                                                                                     Instructions
 3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


 4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


 5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7




                                                                                                          PY
 6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


 7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs           ~~~~~~                               65


 8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                          See
                                                                                                                     Instructions




                                                                                                 CO
 9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
10 Dividends from domestic corporations received by a small business investment
     company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
13 Foreign-source portion of dividends received from a specified 10%-owned foreign
                                                                          NT
     corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
   (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                          See
                                                                                                                     Instructions
15 Section 965(a) inclusion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
                                               IE

     the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
     (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
   b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
     5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   c Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
                                             CL



     (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


17 Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
     page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                         Form 1120 (2020)


011611
12-18-20
                  Case 23-09789                  Doc 1      Filed 07/27/23 Entered 07/27/23 11:24:25                                Desc Main
                                                            Document      Page 73 of 102
Form 1120 (2020)       NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                              XX-XXXXXXX Page 3
  Schedule J            Tax Computation and Payment (see instructions)
Part I - Tax Computation
 1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~ |
  2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2                    0.
  3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3
  4       Add lines 2 and 3                                                          4                    0.
  5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                                 5a
   b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                                5b
   c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                               5c
      d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                      5d
      e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
  6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6
  7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7                    0.




                                                                                                              PY
  8       Personal holding company tax (attach Schedule PH (Form 1120))                                   8
  9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                           9a
   b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                       9b
      c Interest due under the look-back method-completed long-term contracts
        (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         9c
      d Interest due under the look-back method-income forecast method (attach Form 8866) ~       9d




                                                                                            CO
      e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~            9e
      f   Interest/tax due under Section 453A(c) and/or Section 453(l) ~~~~~~~~~~~~
                                                                     9f
  g Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~ 9g
10 Total. Add lines 9a through 9g ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         10
11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31                                11                   0.
Part II - Section 965 Payments (see instructions)
12        2020 net 965 tax liability paid from Form 965-B, Part II, column (k), line 4. Enter here and on page 1, line 32    12
Part III - Payments, Refundable Credits, and Section 965 Net Tax Liability
                                                                        NT
 13 2019 overpayment credited to 2020 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       13
14        2020 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  14
15        2020 refund applied for on Form 4466    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             15   (                  )
16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  16
17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    17
18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  18
                                               IE

19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             19
20         Refundable credits from:
      a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             20a
      b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20b
      c Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20c
                                             CL



      d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~                              20d
21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             21
22        2020 net 965 tax liability from Form 965-B, Part I, column (d), line 4. See instructions ~~~~~~~~~~~~~~~~~                22
23        Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
          line 33                                                                23
                                                                                                                                             Form 1120 (2020)




011621
12-18-20
                  Case 23-09789                      Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                     Desc Main
                                                                    Document      Page 74 of 102
Form 1120 (2020)     NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                         XX-XXXXXXX Page 4
    Schedule K         Other Information (see instructions)
1     Check accounting method: a X Cash     b         Accrual c Other (specify) |                                                                                Yes         No
2     See the instructions and enter the:
    a Business activity code no. | 811310
    b Business activity | SNOW PLOW/MAINTENANC
    c Product or service | SNOW PLOW/MAINTENANC
3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
      If "Yes," enter name and EIN of the parent corporation |


4     At the end of the tax year:
    a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
      organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
      corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X




                                                                                                                      PY
    b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
      classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                              X
 5 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
      foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
      If "Yes," complete (i) through (iv) below.




                                                                                                  CO
                                                                                         (ii) Employer                                                     (iv) Percentage
                                (i) Name of Corporation                             Identification Number                     (iii) Country of            Owned in Voting
                                                                                                                              Incorporation
                                                                                              (if any)                                                           Stock




                                                                            NT
    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
      (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~                  X
      If "Yes," complete (i) through (iv) below.
                                                                                         (ii) Employer                        (iii) Country of                (iv) Maximum
                                    (i) Name of Entity                              Identification Number                                                 Percentage Owned in
                                                                                              (if any)                        Organization
                                                                                                                                                          Profit, Loss, or Capital
                                                     IE
                                                   CL



 6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
   excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
      If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
      If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
   classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~                            X
      For rules of attribution, see section 318. If "Yes," enter:
      (a) Percentage owned |                             and (b) Owner's country |
      (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
      Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached |
 8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
   If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
 9 Enter the amount of tax-exempt interest received or accrued during the tax year | $
10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) |
11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~ |
      If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
      or the election will not be valid.
12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
   page 1, line 29a.)  | $
                                                                                                                                                       Form 1120 (2020)
011632
12-18-20
                Case 23-09789                   Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25                                       Desc Main
                                                             Document      Page 75 of 102
Form 1120 (2020)     NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                    XX-XXXXXXX Page 5
  Schedule K          Other Information (continued from page 4)
13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the              Yes   No
   tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         X
     If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
     distributions and the book value of property distributions (other than cash) made during the tax year | $
14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions         ~~~~~~~~~~~~~~~                   X
   If "Yes," complete and attach Schedule UTP.
15a Did the corporation make any payments in 2020 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
  b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
   own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
   of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                X




                                                                                                                    PY
18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
   market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
   under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                                   X
20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
                                                                                                                                                              X




                                                                                                CO
     267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     If "Yes," enter the total amount of the disallowed deductions | $
22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
   and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
     If "Yes," complete and attach Form 8991.
23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
   during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               X
                                                                           NT
  a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
    current tax year are more than $26 million and the corporation has business interest expense.
  c The corporation is a tax shelter and the corporation has business interest expense.
    If "Yes," complete and attach Form 8990.
25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
                                               IE

   If "Yes," enter amount from Form 8996, line 15  | $
26 Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
   indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
     50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If "Yes," list the ownership
     percentage by vote and by value. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           X
                                             CL



     Percentage: By Vote                                                 By Value
                                                                                                                                                  Form 1120 (2020)




011633
12-18-20
                    Case 23-09789                    Doc 1         Filed 07/27/23                  Entered 07/27/23 11:24:25                           Desc Main
Form 1120 (2020)          NORTH VILLAGE SNOWDocument
                                             MANAGEMENTPage
                                                        GROUP
                                                            76 of 102                                                                                    XX-XXXXXXX               Page 6

  Schedule L                 Balance Sheets per Books                           Beginning of tax year                                               End of tax year

                        Assets                                            (a)                                  (b)                            (c)                          (d)
  1 Cash ~~~~~~~~~~~~~~~~~                                                                                                                                                35,071.
  2a Trade notes and accounts receivable ~~~
   b Less allowance for bad debts ~~~~~~                      (                           )                                       (                       )
  3 Inventories ~~~~~~~~~~~~~~
  4 U.S. government obligations ~~~~~~
  5 Tax-exempt securities ~~~~~~~~~
                                      STMT 3
  6 Other current assets (att. stmt.) ~~~~~~~                                                              859,887.                                                   1,013,399.
  7 Loans to shareholders ~~~~~~~~~                                                                         57,211.                                                     -46,789.
 8 Mortgage and real estate loans ~~~~~
 9 Other investments (att. stmt.) ~~~~~~~~
10a Buildings and other depreciable assets ~~                          789,720.                                                           1,039,590.
  b Less accumulated depreciation ~~~~~                       (        664,236.)                           125,484. (                       945,842.)                     93,748.




                                                                                                                                  PY
11a Depletable assets ~~~~~~~~~~~
  b Less accumulated depletion ~~~~~~                         (                           )                                       (                       )
12 Land (net of any amortization) ~~~~~~
13a Intangible assets (amortizable only) ~~~                                         0.                                                      22,425.
  b Less accumulated amortization ~~~~~                       (                      0.)                                 0. (                   637.)                     21,788.
14 Other assets (att. stmt.) ~~~~~~~~
                                                                                                    1,042,582.                                                        1,117,217.




                                                                                                           CO
15 Total assets 
   Liabilities and Shareholders' Equity
16 Accounts payable ~~~~~~~~~~~
17    Mortgages, notes, bonds payable in less than 1 year                                                       290.                                                    250,000.
18    Other current liabilities (att. stmt.)   STMT 4
                                                ~~~~~~                                                       18,398.                                                    149,900.
19 Loans from shareholders ~~~~~~~~                                                                                                                                           0.
20    Mortgages, notes, bonds payable in 1 year or more                                                    369,528.                                                     540,143.
21 Other liabilities (att. stmt.) ~~~~~~~~
                                                                                NT
22 Capital stock: a Preferred stock ~~~~~
                  b Common stock ~~~~~                                     1,000.                               1,000.                        1,000.                        1,000.
23 Additional paid-in capital ~~~~~~~~
      Retained earnings -
24                              ~~~~~~~
      Appropriated (attach statement)
25 Retained earnings - Unappropriated ~~~                                                                  653,366.                                                     176,174.
   Adjustments to shareholders'
26 equity (attach statement) ~~~~~~~~~~
27 Less cost of treasury stock ~~~~~~~
                                                     IE

                                                                                              (                               )                               (                       )
28 Total liabilities and shareholders' equity                            1,042,582.                                                                                 1,117,217.
  Schedule M-1                     Reconciliation of Income (Loss) per Books With Income per Return
                                   Note: The corporation may be required to file Schedule M-3. See instructions.
  1 Net income (loss) per books ~~~~~~~                                -477,192. 7 Income recorded on books this year not
                                                   CL



  2 Federal income tax per books ~~~~~~~                                                                included on this return (itemize):
  3 Excess of capital losses over capital gains ~~                                                      Tax-exempt interest           $
  4   Income subject to tax not recorded on books this year                                               STMT 6                             186,900.
      (itemize):                                                                                                                                                        186,900.
                                                                                                  8 Deductions on this return not charged
  5 Expenses recorded on books this year not                                                        against book income this year (itemize):
    deducted on this return (itemize):                                                                  a Depreciation ~~ $
                                                                                                          Charitable
    a Depreciation~~ $                                                                                  b contributions ~~~ $
           Charitable
      b contributions ~~ $
        Travel and
      c entertainment ~ $                          125.
      STMT 5                                     1,098.
                                            1,223. 9 Add lines 7 and 8 ~~~~~~~~~~~~~                                                                                   186,900.
  6 Add lines 1 through 5     -475,969.  10 Income (page 1, line 28) - line 6 less line 9                                                                -662,869.
  Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
  1 Balance at beginning of year ~~~~~~~  653,366. 5 Distributions: a Cash ~~~~~~~~~~
  2 Net income (loss) per books ~~~~~~~  -477,192.                    b Stock ~~~~~~~~~~
  3 Other increases (itemize):                                                                                      c Property ~~~~~~~~
                                                                                                  6 Other decreases (itemize) :


                                                                                                  7 Add lines 5 and 6 ~~~~~~~~~~~~~
  4 Add lines 1, 2, and 3                                     176,174. 8 Balance at end of year (line 4 less line 7)                                       176,174.
                                                                                                                                                                       Form 1120 (2020)
011631
12-18-20
                  Case 23-09789               Doc 1         Filed 07/27/23 Entered 07/27/23 11:24:25                         Desc Main
                                                            Document      Page 77 of 102
Form          1125-A                                            Cost of Goods Sold
(Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                             Employer Identification number

         NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                        XX-XXXXXXX
1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2                    266,984.
3     Cost of labor      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3
4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
5     Other costs (attach schedule)                       SEE STATEMENT 7
                                      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                    610,539.
6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                    877,523.
7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7
8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
                                                                                                                                              877,523.




                                                                                                       PY
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8
9 a Check all methods used for valuing closing inventory:
      (i)         Cost
      (ii)        Lower of cost or market
      (iii)       Other (Specify method used and attach explanation) |




                                                                                      CO
    b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
    c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
    d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
      under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
    e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
    f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
      If "Yes," attach explanation.
                                                                         NT
For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)
                                              IE
                                            CL




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                  Case 23-09789                    Doc 1     Filed 07/27/23 Entered 07/27/23 11:24:25                                          Desc Main
                                                             Document      Page 78 of 102
Form     1125-E                                             Compensation of Officers
(Rev. October 2016)                                                                                                                                        OMB No. 1545-0123
                                              | Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
Internal Revenue Service         | Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Name                                                                                                                                                 Employer Identification number

       NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                            XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                          (b) Social security       (c) Percent of     Percent of stock owned               (f) Amount of
                             (a) Name of officer                                                   time devoted to
                                                                               number                 business       (d) Common      (e) Preferred          compensation


1 SEAN         SANDONA                                                                             100%              100.00%




                                                                                                                      PY
                                                                                                   CO
                                                                 N                  T
                                                              IE
                                                   CL




2    Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 2


3    Compensation of officers claimed on Form 1125-A or elsewhere on return ~~~~~~~~~~~~~~~~~~~~~~~                                            3


4    Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
     appropriate line of your tax return                                                              4                                0.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                       Form 1125-E (Rev. 10-2016)


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                       Case 23-09789                           Doc 1              Filed 07/27/23 Entered 07/27/23 11:24:25                                                            Desc Main
                                                                                  Document      Page 79 of 102
            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                              | Attach to your tax return.
                                                                                                                                                                OTHER
                                                                                                                                                                                                 2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



NORTH VILLAGE SNOW MANAGEMENT GROUP                                              OTHER DEPRECIATION                               XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




                                                                                                                                                         PY
 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8




                                                                                                                               CO
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
                                                                                                                                                                                                    179,352.
                                                                                                   NT
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                                    ~~~~~~~~~~~~~~                                17                13,940.
                                                                                                             J
                                                               IE

18       If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
                                                             CL



     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21                88,312.
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22             281,604.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
016251 12-18-20          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2020)
                  Case 23-09789              Doc 1       Filed 07/27/23 Entered 07/27/23 11:24:25                                            Desc Main
                                                         Document      Page 80 of 102
Form 4562 (2020)                 NORTH VILLAGE SNOW MANAGEMENT GROUP                                                  XX-XXXXXXX                                               Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?         X Yes                 No 24b If "Yes," is the evidence written? X Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)           (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation   Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction   section 179
                                service      use percentage                                 use only)
                                                                                                                                                        cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25       70,518.


                                       ! !
26 Property used more than 50% in a qualified business use:



                                       ! !
                                                          %
            SEE STATEMENT 8                                                                                                                 17,794.

                                       ! !
                                                          %




                                                                                                                 PY
                                                          %



                                       ! !
27 Property used 50% or less in a qualified business use:



                                       ! !
                                                          %                                                          S/L -



                                       ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28 88,312.




                                                                                               CO
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1        29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                   (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle               Vehicle
   year (don't include commuting miles) ~~~~~~~
                                                                           NT
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.                            SEE PART V STATEMENT
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No        Yes          No
                                               IE

   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                                             CL



                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                              Yes         No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                   (f)
                    Description of costs               Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:



                                                            ! !
            SEE STATEMENT 9                                                                                                                                                    637.
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44                                 637.
016252 12-18-20                                                                                                                                                Form 4562 (2020)
 Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                         Document      Page 81 of 102
Section 1.263(a)-1(f) De Minimis Safe Harbor Election




North Village Snow Management Group
1842 S. Elmhurst Road
Mount Prospect, IL 60056


Employer Identification Number:    XX-XXXXXXX


For the Year Ending December 31, 2020




                                                     PY
North Village Snow Management Group is making the de minimis safe
harbor election under Reg. Sec. 1.263(a)-1(f).




                                           CO
                                NT
                   IE
                 CL
 Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                         Document      Page 82 of 102
         Section 1.263(a)-3(n) Election




North Village Snow Management Group
1842 S. Elmhurst Road
Mount Prospect, IL 60056


Employer Identification Number:    XX-XXXXXXX


For the Year Ending December 31, 2020




                                                     PY
North Village Snow Management Group is electing to capitalize repair
and maintenance costs under Reg. Sec. 1.263(a)-3(n).




                                           CO
                                NT
                   IE
                 CL
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 83 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                     TAXES AND LICENSES                 STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
LICENSES AND PERMITS                                                            6,109.
PAYROLL TAXES                                                                  43,126.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 17                                                    49,235.
                                                                        ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 2




                                                         PY
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
AMORTIZATION                                                                       637.
AVID EXCHANGE                                                                   2,571.
BANK AND CREDIT CARD FEES                                                       3,372.




                                                CO
COMPUTER AND INTERNET                                                          11,895.
CONSULTING FEES                                                                43,688.
DUES AND SUBSCRIPTIONS                                                         41,309.
FUEL                                                                           26,515.
INSURANCE                                                                      78,694.
LEGAL AND PROFESSIONAL                                                         17,609.
MEALS                                                                              126.
NETWORKING                                                                         208.
                                     NT
OFFICE EXPENSES                                                                 5,055.
OTHER EXPENSES                                                                  4,240.
POSTAGE                                                                         1,458.
PRINTING                                                                        3,680.
SUPPLIES                                                                        4,875.
TELEPHONE                                                                       8,053.
                          IE

TRAVEL                                                                          4,336.
UTILITIES                                                                       6,382.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 26                                                   264,703.
                        CL


                                                                        ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE FROM DOORAGE                                            853,747.       934,827.
EMPLOYEE LOANS                                                6,140.         6,490.
ERTC CREDIT REFUND                                                          65,000.
SECURITY DEPOSITS                                                            7,082.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                 859,887.     1,013,399.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


                                                                  STATEMENT(S) 1, 2, 3
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 84 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
CHECKS IN EXCESS                                             18,398.              0.
EIDL LOAN                                                                  149,900.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 18                                 18,398.       149,900.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                         PY
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER EXPENSES RECORDED ON BOOKS          STATEMENT 5
                         NOT DEDUCTED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}




                                                CO
ENTERTAINMENT                                                                   1,098.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 5                                                   1,098.
                                                                        ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER INCOME RECORDED ON BOOKS            STATEMENT 6
                                     NT
                         NOT INCLUDED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
PPP LOAN - TAX EXEMPT                                                         176,900.
EIDL ADVANCE                                                                   10,000.
                          IE

                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 7                                                 186,900.
                                                                        ~~~~~~~~~~~~~~
                        CL



~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1125-A                      OTHER COSTS                     STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
ARCHITECTURE                                                                   19,100.
EQUIPMENT RENTAL                                                               57,508.
OUTSIDE LABOR                                                                  94,834.
REFUSE REMOVAL                                                                 17,546.
SALT PURCHASES                                                                224,652.
SUBCONTRACTING EXPENSES                                                       196,899.
                                                                        }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                               610,539.
                                                                        ~~~~~~~~~~~~~~



                                                              STATEMENT(S) 4, 5, 6, 7
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 85 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 4562, PART V   LISTED PROPERTY INFORMATION-MORE THAN 50%    STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

    (A)       (B)     (C)     (D)      (E)    (F)    (G)       (H)    (I) 179
DESCRIPTION   DATE   BUS. %   COST    BASIS   LIFE MTH/CV DEDUCTION ELECTED
}}}}}}}}}}} }}}}}}}} }}}}}} }}}}}}}} }}}}}}}} }}}} }}}}}}}} }}}}}}}}} }}}}}}}}

(J)     (K)        (L)         (M)       (N)   (O)     (P)       (Q)
AUTO   TOTAL    BUSINESS    COMMUTING PERSONAL
                                             WAS VEH. > 5% ANOTHER VEH.
 NO    MILES      MILES       MILES     MILESAVAIL.? OWNER? AVAILABLE?
                                               Y N     Y N       Y N
}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}} }}}}}} }}}}}}}}}}}}
2015 FORD   09/14/15
TRANSIT -




                                                         PY
VEHICLE
#401                 100.00 37,420. 25,960. 5.00 200DB-HY      1,975.

2006 CHEVY   07/04/16
E350 -
VEHICLE




                                                 CO
#108                    100.00   5,984.     2,992. 5.00 200DB-HY         324.

2016 FORD    10/08/16
TRANSIT -
VEHICLE
#403                    100.00   33,053.   21,493. 5.00 200DB-HY       2,075.

2017 FORD    03/30/16
                                     NT
TRANSIT -
VEHICLE
#402                    100.00   32,092.   20,532. 5.00 200DB-HY       2,075.

2017 FORD    06/01/17
TRANSIT -
                          IE

VEHICLE
#404                    100.00   37,182.   25,622. 5.00 200DB-HY       2,075.

2017 FORD    09/28/18
                        CL


ESCAPE -
VEHICLE
#208                    100.00   28,939.   10,939. 5.00 200DB-HY       2,100.

2017 FORD    06/01/19
EXPLORER -
VEHICLE
#209                    100.00   42,001.   23,901. 5.00 200DB-MQ       7,170.

2019 FORD    12/01/19
F250 -
VEHICLE
#112                    100.00   57,450.           5.00 200DB-MQ

2014        12/01/19
FREIGHTLINE
 M2 -
VEHICLE
#111                 100.00      42,660.           5.00 200DB-MQ



                                                                         STATEMENT(S) 8
        Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25    Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 86 of 102                     XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                          }}}}}}}}}}
ISUZU NRR   12/28/20
W/SWITCH-N-
-GO GROPBOX          100.00 70,518.                 5.00 200DB-MQ

                                                                      }}}}}}}}} }}}}}}}}
TOTAL TO FORM 4562, PART V, LINE 26                                     17,794.
                                                                      ~~~~~~~~~ ~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 4562                  PART VI - AMORTIZATION                STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                           (B)          (C)           (D)       (E)             (F)




                                                         PY
        (A)               DATE      AMORTIZABLE       CODE     PERIOD/     AMORTIZATION
DESCRIPTION OF COSTS      BEGAN       AMOUNT         SECTION   PERCENT       THIS YEAR
}}}}}}}}}}}}}}}}}}}}}    }}}}}}}}   }}}}}}}}}}}}     }}}}}}}   }}}}}}}}    }}}}}}}}}}}}
WEBSITE DEVELOPMENT -    03/04/20
YOUTECH                                    5,000.              180M                 278.
WEBSITE DEVELOPMENT -    07/21/20
PLAT                                       5,175.              180M                 144.




                                                CO
WEBSITE DEVELOPMENT -    08/25/20
GOLD                                       5,000.              180M                 111.
WEBSITE DEVELOPMENT -    09/23/20
BLACK                                      4,250.              180M                 71.
WEBSITE DEVELOPMENT -    11/02/20
BLACK                                      3,000.              180M                 33.
                                                                           }}}}}}}}}}}}
TOTAL TO FORM 4562, LINE 42                                                        637.
                                     NT
                                                                           ~~~~~~~~~~~~
                          IE
                        CL




                                                                        STATEMENT(S) 8, 9
  Case 23-09789           Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25           Desc Main
                                       Document      Page 87 of 102

                     2020 TAX RETURN FILING INSTRUCTIONS
                                               ILLINOIS FORM IL-1120

                                        FOR THE YEAR ENDING
                                                 December 31, 2020

Prepared For:


                North Village Snow Management Group
                1842 S. Elmhurst Road
                Mount Prospect, IL 60056

Prepared By:




                                                                         PY
                Tighe, Kress & Orr, P.C.
                2001 Larkin Avenue, Suite 202
                Elgin, IL 60123




                                                              CO
To Be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                             $                        0
                Less: payments and credits            $                        0
                Plus: other amount                    $                        0
                                                 NT
                Plus: interest and penalties          $                        0
                No payment required                   $

Overpayment:
                Not applicable
                                        IE

Make Check Payable to:

                Not applicable

Mail Tax Return and Check (if applicable) to:
                        CL



                This return has qualified for electronic filing. The return has been transmitted
                electronically to the IDOR, and no further action is required. Do not mail the paper copy
                of the return to the IDOR .

Return Must be Mailed On or Before:

                Not Applicable

Special Instructions:
                                                        Case 23-09789                    Doc 1             Filed 07/27/23 Entered 07/27/23 11:24:25                                                 Desc Main
                                                                                                           Document      Page 88 of 102
                                                    Illinois Department of Revenue
                                                    2020 Form IL-1120
                                                    Corporation Income and Replacement Tax Return
                                                    See "When should I file?" in the Form IL-1120 instructions for a list of due dates.
         If this return is not for calendar year 2020, enter your fiscal tax year here.                                                                                                         Enter the amount you are paying.
         Tax year beginning                                                                          , 2020, ending                                                                             $                      0.00
                                                                month                 day                             month                    day                  year
            This form is for tax years ending on or after December 31, 2020, and before December 31, 2021.
              WARNING
            For all other situations, see instructions to determine the correct form to use.
Step 1: Identify your corporation                                                                 N Enter your federal employer identification number (FEIN).
 A Enter your complete legal business name.                                                           XX-XXXXXXX
                          If you have a name change, check this box.
                                                                                                                                                               O If you are a member of a group filing a federal
                          Name:                     NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                          consolidated return, enter the FEIN of the parent.
  B Enter your mailing address.




                                                                                                                                                                               PY
                          Check this box if either of the following apply:
                          ¥ this is your first return, or                                                                                                      P Enter your North American Industry Classification
                          ¥ you have an address change.                                                                                                          System (NAICS) Code. See instructions.
                                                                                                                                                                   811310
                          C/O:

                                                                                                                                                               Q Enter your corporate file (charter) number
                                                             1842 S. ELMHURST ROAD




                                                                                                                                                     CO
                          Mailing address:                                                                                                                       assigned to you by the Secretary of State.
                                                                                                                                                                   67043502
                          City: MOUNT PROSPECT                                                           State: IL ZIP:60056

       C If this is the first or final return, check the applicable box(es).                                                                                   R Enter the city, state, and ZIP code where your
                  First return                                                                                                                                   accounting records are kept. (Use the two-letter
                                                    Final return (Enter the date of termination.                                   )                             postal abbreviation, e.g. , IL, GA, etc.)
                                                                                                     mm        dd        yyyy
                                                                                                                                                                   MOUNT PROSPECT IL                             60056
                                                                                                                                                                   City                             State              ZIP
       D If this is a final return because you sold this business, enter the date sold
                                                                                                                           NT
                          (mm dd yyyy)                                                  , and the new owner's FEIN.
                                                                                                                                                               S If you are making the business income election to
        E Check the box and see the instructions if your business is a:                                                                                          treat all nonbusiness income as business income,
                                                    Unitary Filer (Combined return)               Foreign insurer                                                  check this box and enter zero on Lines 24 and 32.
        F If you completed the following, check the box and attach the federal
          form(s) to this return.                                                                                                                              T Check your method of accounting.
                                                    Federal Form 8886                             Federal Schedule M-3,                                            X Cash
                                                                                         IE

                                                                                                                                                                                   Accrual        Other
                                                                                                  Part II, Line 12                                             U If you are making a discharge of indebtedness
       G Apportionment Formulas. Mark the appropriate box or boxes and see                                                                                       adjustment on Form IL-1120, Line 36, check this
         Apportionment Formula instructions.         Sales companies                                                                                               box and attach federal Form 982 and a
                                                    Insurance companies                           Financial organizations                                        detailed statement.
                                                                                       CL



                                                    Transportation companies                      Federally regulated exchanges                                V Check this box if you attached
       H Check this box if you attached Illinois Schedule UB.                                                                                                    Schedule INL.
            I Check this box if you attached the Subgroup Schedule.                                                                                            W If you annualized your income on Form IL-2220,
         J Check this box if you attached Illinois Schedule 1299-D.                                                                                              check this box and attach Form IL-2220.
       K Check this box if you attached Form IL-4562.                                                                                          X               X Check this box if your business activity is
        L Check this box if you attached Illinois Schedule M (for businesses).                                                                                   protected under Public Law 86-272.
    M Check this box if you attached Schedule 80/20.                                                                                                           Y Check this box if you are a 52/53 week filer.
                                                                                                                                                               Z Check this box if your tax year began on or
                                                                                                                                                                   after January 1, 2021.
L
                                                  J If you owe tax on Line 67, make an electronic payment at Tax.Illinois.gov. If you must mail your payment,
Attach your payment and
                          Form IL-1120-V here .




                                                      complete a payment voucher, Form IL-1120-V. Write your FEIN, tax year ending, and "IL-1120-V" on your check
                                                      or money order and make it payable to "Illinois Department of Revenue." Attach your voucher and payment here.

                                                  J Refer to the 2020 IL-1120 Instructions for the address to mail your return.




K
                                                           ID: 2BX
                                                  049401 12-01-20         This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this          IR       NS               DR
                                                                          information is REQUIRED. Failure to provide information could result in a penalty.
                                                  IL-1120 (R-12/20)                                                                                                                                              Page 1 of 4
              Case 23-09789                  Doc 1          Filed 07/27/23 Entered 07/27/23 11:24:25                                     Desc Main
                                                            Document      Page 89 of 102
        NORTH VILLAGE SNOW MANAGEMENT                                                                                                     XX-XXXXXXX

                                                                                                                                            (Whole dollars only)
Step 2: Figure your income or loss
 1 Federal taxable income from U.S. Form 1120, Line 30. Attach a copy of your federal return.                                        1           -662,869 .00
 2 Net operating loss deduction from U.S. Form 1120, Line 29a. This amount cannot be negative.                                       2                             .00
 3 State, municipal, and other interest income excluded from Line 1.                                                                 3                             .00
 4 Illinois income and replacement tax and surcharge deducted in arriving at Line 1.                                                 4                             .00
 5 Illinois Special Depreciation addition. Attach Form IL-4562.                                                                      5               20,046 .00
 6 Related-Party Expenses additions. Attach Schedule 80/20.                                                                          6                             .00
 7 Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.                                                               7                             .00
 8 Other additions. Attach Schedule M (for businesses).                                                                              8                             .00
 9 Add Lines 1 through 8. This amount is your income or loss.                                                                        9           -642,823 .00




                                                                                                                PY
Step 3: Figure your base income or loss
10 Interest income from U.S. Treasury and other exempt federal obligations.                10                                 .00
11 River Edge Redevelopment Zone Dividend subtraction.
   Attach Schedule 1299-B.                                                                 11                                 .00
12 River Edge Redevelopment Zone Interest subtraction.
   Attach Schedule 1299-B.                                                                 12                                 .00




                                                                                            CO
13 High Impact Business Dividend subtraction. Attach Schedule 1299-B.                      13                                 .00
14 High Impact Business Interest subtraction. Attach Schedule 1299-B.                      14                                 .00
15 Contribution subtraction. Attach Schedule 1299-B.                                       15                                 .00
16 Contributions to certain job training projects. See instructions.                       16                                 .00
17 Foreign Dividend subtraction. Attach Schedule J. See instructions.                      17                                 .00
18 Illinois Special Depreciation subtraction. Attach Form IL-4562.                         18                 46,487 .00
19 Related-Party Expenses subtraction. Attach Schedule 80/20.                              19                                 .00
20 Distributive share of subtractions. Attach Schedule(s) K-1-P or K-1-T.                  20                                 .00
                                                                         NT
21 Other subtractions. Attach Schedule M (for businesses).                                 21                                 .00
22 Total subtractions. Add Lines 10 through 21.                                                                                     22             46,487 .00
23 Base income or loss. Subtract Line 22 from Line 9.                                                                               23           -689,310 .00

          A If the amount on Line 23 is derived inside Illinois only, check this box and enter the amount from Step 3, Line 23                                      X
            on Step 5, Line 35. You may not complete Step 4. (You must leave Step 4, Lines 24 through 34 blank.)
 STOP
              Note | If you are a unitary filer, do not check this box. Check the box on Line B and complete Step 4.
                                             IE

          B If any portion of the amount on Line 23 is derived outside Illinois, or you are a unitary filer, check this box and complete all lines of Step 4.
            (Do not leave Lines 28 through 30 blank.) See instructions.

Step 4: Figure your income allocable to Illinois (Complete only if you checked the box on Line B, above.)
 24 Nonbusiness income or loss. Attach Schedule NB.                                        24                                 .00
                                           CL



 25 Business income or loss included in Line 23 from non-unitary partnerships,
     partnerships included on a Schedule UB, S corporations, trusts, or
     estates. See instructions.                                                            25                                 .00
 26 Add Lines 24 and 25.                                                                                                            26                             .00
 27 Business income or loss. Subtract Line 26 from Line 23.                                                                         27                             .00
 28 Total sales everywhere. This amount cannot be negative.                                28
 29 Total sales inside Illinois. This amount cannot be negative.                           29
 30 Apportionment Factor. Divide Line 29 by Line 28. Round to six decimal places.          30
 31 Business income or loss apportionable to Illinois. Multiply Line 27 by Line 30.                                                 31                             .00
 32 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB.                                                           32                             .00
 33 Business income or loss apportionable to Illinois from non-unitary partnerships, partnerships
     included on a Schedule UB, S corporations, trusts, or estates. See instructions.                                               33                             .00
 34 Base income or loss allocable to Illinois. Add Lines 31 through 33.                                                             34                             .00




        Page 2 of 4   049402 12-01-20                                                                                               ID: 2BX IL-1120 (R-12/20)
         NORTH VILLAGE
            Case 23-09789SNOW
                           DocMANAGEMENT
                               1 Filed 07/27/23                                           Entered 07/27/23 11:24:25                          XX-XXXXXXX
                                                                                                                                            Desc Main
                                                              Document                  Page 90 of 102

Step 5: Figure your net income
 35 Base income or net loss from Step 3, Line 23, or Step 4, Line 34.                                                                 35          -689,310 .00
 36 Discharge of indebtedness adjustment. Attach federal Form 982. See instructions.                                                  36                                  .00
 37 Adjusted base income or net loss. Add Lines 35 and 36. See instructions.                                                          37          -689,310 .00

                                                                                                                      ;<         ;<
 38 Illinois net loss deduction. If Line 37 is zero or a negative amount, enter zero.
     Check this box and attach a detailed statement if you have merged losses.                                                        38                                  .00
 39 Net income. Subtract Line 38 from Line 37.                                                                                        39          -689,310 .00
Step 6: Figure your replacement tax after credits
 40 Replacement tax. Multiply Line 39 by 2.5% (.025).                                                                                 40                                  .00
 41 Recapture of investment credits. Attach Schedule 4255.                                                                            41                                  .00
 42 Replacement tax before credits. Add Lines 40 and 41.                                                                              42                                  .00
 43 Investment credits. Attach Form IL-477.                                                                                           43                                  .00
                                                                                                                                                                     0 .00




                                                                                                                 PY
 44 Replacement tax after credits. Subtract Line 43 from Line 42. If the amount is negative, enter zero.                              44

Step 7: Figure your income tax after credits
 45 Income tax. See Instructions.                                                                                                     45                                  .00
 46 Recapture of investment credits. Attach Schedule 4255.                                                                            46                                  .00
 47 Income tax before credits. Add Lines 45 and 46.                                                                                   47                                  .00




                                                                                                 CO
 48 Income tax credits. Attach Schedule 1299-D.                                                                                       48                                  .00
 49 Income tax after credits. Subtract Line 48 from Line 47. If the amount is negative, enter zero.                                   49                             0 .00
Step 8: Figure your refund or balance due
 50 Replacement tax before reductions. Enter the amount from Line 44.                                                               50                               0 .00
 51 Foreign Insurer replacement tax reduction. Attach Schedule INS or UB/INS. See instructions.                                     51                                    .00
 52 Subtract Line 51 from Line 50. This is your net replacement tax.                                                                52                                    .00
 53 Income tax before reductions. Enter the amount from Line 49.                                                                    53                               0 .00
                                                                           NT
 54 Foreign Insurer income tax reduction. Attach Schedule INS or UB/INS. See instructions.                                          54                                    .00
 55 Subtract Line 54 from Line 53. This is your net income tax.                                                                     55                               0 .00
 56 Compassionate Use of Medical Cannabis Program Act surcharge. See instructions .                                                 56                                    .00
 57 Sale of assets by gaming licensee surcharge. See instructions.                                                                  57                                    .00
 58 Total net income and replacement taxes and surcharges. Add Lines 52, 55, 56, and 57.                                            58                               0 .00
 59 Underpayment of estimated tax penalty from Form IL-2220. See instructions.                                                      59                                    .00
                                                                                                                                                                     0 .00
                                               IE

 60 Total taxes, surcharges, and penalty. Add Lines 58 and 59.                                                                      60
 61 Payments. See instructions.
    a Credits from previous overpayments.                                                  61a                             .00
     b Total payments made before the date this return is filed.                           61b                             .00
     c Pass-through withholding reported to you on Schedule(s)
                                             CL



         K-1-P or K-1-T. Attach Schedule(s) K-1-P or K-1-T.                                61c                             .00
    d Illinois gambling withholding. Attach Form(s) W-2G.                                  61d                             .00
 62 Total payments. Add Lines 61a through 61d.                                                                                        62                                  .00
 63 Overpayment. If Line 62 is greater than Line 60, subtract Line 60 from Line 62.                                                   63                                  .00

                                                                                                                      ;<         ;<                                             ;<
 64 Amount to be credited forward. See instructions.
    Check this box and attach a detailed statement if this carryforward is going to a different FEIN.                                 64                                  .00
 65 Refund. Subtract Line 64 from Line 63. This is the amount to be refunded.                                                         65                                  .00
 66 Complete to direct deposit your refund.
    Routing Number                                                                      Checking or        Savings
     Account Number


 67 Tax due. If Line 60 is greater than Line 62, subtract Line 62 from Line 60. This is the amount you owe.                           67                                  .00

Step 9: Sign below - Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct and complete.
Sign                                                            PRESIDENT                            866-667-8414                          X Check if the Department
                                                                                                                                               may discuss this return with the
Here Signature of authorized officer              Date (mm/dd/yyyy) Title                                     Phone                            paid preparer shown in this step.
             VICKI M. MICHALSKI, CP                                 VICKI M. MICHALSKI 08/15/2021                                            Check if P00443402
Paid           Print/Type paid preparer's name                     Paid preparer's signature                   Date (mm/dd/yyyy) self-employed Paid Preparer's PTIN
Preparer       Firm's name | TIGHE,       KRESS & ORR, P.C.                                                           Firm's FEIN          | XX-XXXXXXX
Use Only       Firm's address | 2001    LARKIN AVENUE, SUITE 202
                                   ELGIN, IL                 60123                                                    Firm's phone | (847)              695-2700
                                       049403
         IL-1120 (R-12/20) ID: 2BX     12-01-20   | Enter the amount of your payment on the top of page 1 in the space provided.                        Page 3 of 4
                Case 23-09789                 Doc 1            Filed 07/27/23 Entered 07/27/23 11:24:25                                                     Desc Main
                                                               Document      Page 91 of 102

                                                                                                                                                               Year ending
           Illinois Department of Revenue

           2020 IL-4562 Special Depreciation                                                                                                               12
                                                                                                                                                            Month
                                                                                                                                                                    2020
                                                                                                                                                                         Year
           For tax years ending on or after December 31, 2020.
           Attach to your Form IL-1120, IL-1120-ST, IL-1065, IL-1041, or IL-1040.                                                                         IL Attachment No. 11
Step 1:       Provide the following information

 NORTH VILLAGE SNOW MANAGEMENT GROUP                                                                                                                  XX-XXXXXXX
Enter your name as shown on your return.                                                                                                    Enter your Social Security number (SSN) or
                                                                                                                                            federal employer identification number (FEIN).

 Special
            Note
                   ) You must read the instructions before completing Form IL-4562. Do not use negative figures.
Step 2:       Figure your Illinois special depreciation addition




                                                                                                                                  PY
 1      Enter the total amount claimed as a special depreciation allowance on your current federal Form 4562,
        Depreciation and Amortization, Lines 14 and Line 25, for property acquired after September 10, 2001                                        1                              0.00
 2      Individuals only: Enter the total amount claimed as a special depreciation allowance from
        federal Form 2106, Employee Business Expenses.                                                                                             2
 3      Last year of regular depreciation: Enter the total amount of all Illinois depreciation
        subtractions claimed on prior year IL-4562 forms, Step 3, Line 8, for each property.                                STMT 1                 3                    20,046.00




                                                                                                         CO
 4      Add Lines 1 through 3. This is your Illinois special depreciation addition. Enter the total here and
        see instructions for the list of Illinois form and line references to report this addition.                                                4                    20,046.00

Step 3:       Figure your Illinois special depreciation subtraction
 5 a Enter the portion of depreciation allowance claimed on federal Form 4562, Line 17, plus
     Line 19, Column g, plus Line 26, Column h, for property for which you claimed a special
     depreciation allowance on federal Form 4562, Line 14 or 25, for this tax year, or any other
        tax year ending after September 10, 2001, for bonus depreciation equal to 30 percent of
                                                                                                             STATEMENT 2                                                  9,270.00
                                                                               NT
        your basis in the property.                                                                                                               5a
     b Individuals only: If you completed a federal Form 2106 for this tax year, enter the portion of
       any depreciation deductions included in Lines 4 and 38 for this tax year or any prior tax year
        for bonus depreciation equal to 30 percent of your basis in the property.                                                                 5b
     c Add Lines 5a and 5b.                                                                                                                       5c                      9,270.00

                                                                                                                                                                          3,977.00
                                              IE

 6      Multiply Line 5c by 42.9% (0.429).                                                                                                        6


 7 a Enter the portion of depreciation allowance claimed on federal Form 4562, Line 17, plus
     Line 19, Column g, plus Line 26, Column h, for property for which you claimed a special
        depreciation allowance on federal Form 4562, Line 14 or 25, for this tax year, or any other
                                            CL



        tax year ending after September 10, 2001, for bonus depreciation equal to 50 percent of
       your basis in the property.                                                                STMT                                      3     7a                    21,349.00
     b Individuals only:  If you completed a federal Form 2106 for this tax year, enter the portion
       of any depreciation deductions included in Lines 4 and 38 for this tax year or any prior tax year
        for bonus depreciation equal to 50 percent of your basis in the property.                                                                 7b
     c Add Lines 7a and 7b.                                                                                                                       7c                    21,349.00

 8      Add Lines 6 and 7c.                                                                                                                       8                     25,326.00

 9      Last year of regular depreciation:        Enter the Illinois special depreciation addition reported                      STMT 4
        on any prior year Form IL-4562, Step 2, Line 1 plus Line 2, for each property. See instructions.                                          9                     21,161.00

10      Add Lines 8 and 9. This is your Illinois depreciation subtraction for this year. Enter the total here and
        see instructions for the list of Illinois form and line references to report this subtraction.                                           10                     46,487.00

                                                      J Attach this form to your Illinois return. §


                                                   This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                   information is REQUIRED. Failure to provide information could result in a penalty.


                                       049211
         IL-4562 (R-12/20)   ID: 2BX   12-22-20
          Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 92 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                             SUBTRACTIONS CLAIMED ON             STATEMENT 1
IL-4562                     PRIOR YEAR IL-4562 FORMS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                         ILLINOIS                FEDERAL
                        ACCUMULATED            ACCUMULATED
ASSET #                DEPRECIATION           DEPRECIATION               DIFFERENCE
}}}}}}}               }}}}}}}}}}}}}}         }}}}}}}}}}}}}}            }}}}}}}}}}}}}}
     8                     15,286.00               7,643.00                  7,643.00
    10                     20,094.00              10,047.00                 10,047.00
    28                      4,712.00               2,356.00                  2,356.00
                                                                       }}}}}}}}}}}}}}
TOTAL TO FORM IL-4562, STEP 2, LINE 3                                       20,046.00




                                                         PY
                                                                       ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL-4562                        30% BONUS PROPERTY                STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                           CURRENT




                                                CO
ASSET #                          DESCRIPTION                            DEPRECIATION
}}}}}}}     }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
     6      2017 FORD ESCAPE - VEHICLE #208                                  2,100.00
    32      2017 FORD EXPLORER - VEHICLE #209                                7,170.00
                                                                       }}}}}}}}}}}}}}
TOTAL TO FORM IL-4562, STEP 3, LINE 5A                                       9,270.00
                                                                       ~~~~~~~~~~~~~~
                                       NT
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL-4562                       50% BONUS PROPERTY                 STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                           CURRENT
ASSET #                          DESCRIPTION                            DEPRECIATION
                            IE

}}}}}}}     }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
     1      2015 FORD TRANSIT - VEHICLE #401                                 1,975.00
     2      2006 CHEVY E350 - VEHICLE #108                                     324.00
     3      2016 FORD TRANSIT - VEHICLE #403                                 2,075.00
                          CL



     4      2017 FORD TRANSIT - VEHICLE #402                                 2,075.00
     5      2017 FORD TRANSIT - VEHICLE #404                                 2,075.00
    11      PLOW EQUIPMENT                                                     121.00
    12      SNOW EQUIPMENT                                                     446.00
    13      PLOW EQUIPMENT                                                     170.00
    14      INTERNATIONAL DUMPTRUCK - VEHICLE #109                           2,426.00
    15      JCB 300 SKID - VEHICLE #502                                      1,522.00
    16      JCB 300 SKID - VEHICLE #503                                      1,599.00
    17      JLG 600 AJ LIFT - VEHICLE #504                                   1,276.00
    18      JLG 600 AJ LIFT - VEHICLE #505                                   1,276.00
    19      2016 FORD F350 DUMP - VEHICLE #110                               3,588.00
    20      SECTIONAL PLOW                                                     195.00
    21      POWER TOOLS                                                        206.00
                                                                       }}}}}}}}}}}}}}
TOTAL TO FORM IL-4562, STEP 3, LINE 7A                                      21,349.00
                                                                       ~~~~~~~~~~~~~~




                                                                  STATEMENT(S) 1, 2, 3
          Case 23-09789   Doc 1
                            Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document
NORTH VILLAGE SNOW MANAGEMENT  GROUP      Page 93 of 102            XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                     ILLINOIS SPECIAL DEPRECIATION ADDITION      STATEMENT 4
IL-4562                  REPORTED ON PRIOR YEAR IL-4562
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BONUS DEPRECIATION
ASSET #                       DESCRIPTION                    PREVIOUSLY TAKEN
}}}}}}}  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}}}}}
     8   KUBOTA                                                     8,000.00
    10   ATTACHED EQUIPMENT                                        10,661.00
    28   HV TRAILER                                                 2,500.00
                                                              }}}}}}}}}}}}}}
TOTAL TO FORM IL-4562, STEP 3, LINE 9                              21,161.00
                                                              ~~~~~~~~~~~~~~




                                                         PY
                                                CO
                                     NT
                            IE
                          CL




                                                                         STATEMENT(S) 4
               Case 23-09789                   Doc 1        Filed 07/27/23                  Entered 07/27/23 11:24:25                           Desc Main
                                               Document
                     Illinois Department of Revenue                                       Page 94 of 102
                     Form IL-2848-A
                     Power of Attorney Additional Information                                                                                           Attachment #    1
Form IL-2848, Step 5, signature date
                                              mm       dd          yyyy


NORTH VILLAGE SNOW MANAGEMENT GROUP                                                          XX-XXXXXXX
Taxpayer's name (person or business)                                                         FEIN, SSN, or Illinois Account ID

Power of Attorney Information
                                                                                                                                                         (Complete Step 6
Check one box:                    Attorney              X      Certified Public Accountant                               Enrolled Agent            Other of Form IL-2848))

VICKI M. MICHALSKI, CPA
Power of Attorney's name                                                                     Firm Name
065.029604                                                                                   VICKI.MICHALSKI@TKO.CPA




                                                                                                                             PY
Identification Number (Attorney License, PTIN, FEIN, SSN)                                    Email Address

2001 LARKIN AVENUE, SUITE 202                                                                ELGIN                                              IL             60123
Power of Attorney's Street Address                                                           City                                               State          ZIP

847-695-2700                                                                                 847-695-2748




                                                                                                     CO
Daytime Phone Number                                                                         Fax Number


If your Power of Attorney is an attorney, certified public accountant, or enrolled agent, the Power of Attorney must complete this section:
I declare that I am not currently under suspension or disbarment, and that I am
¥   a member in good standing of the highest court of the jurisdiction indicated;
       or
¥   duly qualified to practice as a certified public accountant in the
    jurisdiction indicated;
                                                                            NT
        or                                                                                   Power of Attorney Signature                                Date
¥   enrolled as an agent pursuant to the requirements of United
    States Treasury Circular #230.                                                           VICKI M. MICHALSKI,                                IL
                                                                                             Power of Attorney Printed Name                     Jurisdiction


Power of Attorney Information
                                                IE

                                                                                                                                                         (Complete Step 6
Check one box:                    Attorney              X      Certified Public Accountant                               Enrolled Agent            Other of Form IL-2848))



YUNHUI KIM, CPA
                                              CL



Power of Attorney's name                                                                     Firm Name
065.055078                                                                                   YUNHUI.KIM@TKO.CPA
Identification Number (Attorney License, PTIN, FEIN, SSN)                                    Email Address
2001 LARKIN AVENUE, SUITE 202                                                                ELGIN                                              IL             60123
Power of Attorney's Street Address                                                           City                                               State          ZIP

847-695-2700                                                                                 224-359-0223
Daytime Phone Number                                                                         Fax Number


If your Power of Attorney is an attorney, certified public accountant, or enrolled agent, the Power of Attorney must complete this section:

I declare that I am not currently under suspension or disbarment, and that I am
¥   a member in good standing of the highest court of the jurisdiction indicated;
       or
¥   duly qualified to practice as a certified public accountant in the
    jurisdiction indicated;
        or                                                                                    Power of Attorney Signature                               Date
¥   enrolled as an agent pursuant to the requirements of United
    States Treasury Circular #230.
                                                                                             YUNHUI KIM, CPA                                    IL
                                                                                              Power of Attorney Printed Name                    Jurisdiction


    IL-2848-A (N-08/20) Page 1 of 2 ID: 2BX
                         049951 09-15-20           This form is authorized by various acts found in Illinois Compiled Statutes. Disclosure of
                                                   this information is REQUIRED. Failure to provide information could result in a penalty.
               Case 23-09789               Doc 1           Filed 07/27/23 Entered 07/27/23 11:24:25                        Desc Main
                                                           Document      Page 95 of 102
    NORTH VILLAGE SNOW MA                                  XX-XXXXXXX
    Taxpayer's Name (person or business)                   FEIN, SSN, or Illinois Account ID
Power of Attorney Information                                                                                                         (Complete Step 6
Check one box:                  Attorney               X      Certified Public Accountant              Enrolled Agent           Other of Form IL-2848))

ZENDY MORALES, CPA, MAS
Power of Attorney's name                                                             Firm Name
065.051835                                                                           ZENDY.MORALES@TKO.CPA
Identification Number (Attorney License, PTIN, FEIN, SSN)                            Email Address
2001 LARKIN AVEUNE, SUITE 202                                                        ELGIN                                   IL                 60123
Power of Attorney's Street Address                                                   City                                    State              ZIP
847-695-2700                                                                         224-359-0323
Daytime Phone Number                                                                 Fax Number
If your Power of Attorney is an attorney, certified public accountant, or enrolled agent, the Power of Attorney must complete this section:




                                                                                                          PY
I declare that I am not currently under suspension or disbarment, and that I am
¥   a member in good standing of the highest court of the jurisdiction indicated;
        or
¥   duly qualified to practice as a certified public accountant in the
                                                                                Power of Attorney Signature                               Date
    jurisdiction indicated;
        or
¥   enrolled as an agent pursuant to the requirements of United                ZENDY MORALES, CPA,                           IL




                                                                                            CO
    States Treasury Circular #230.                                                    Power of Attorney Printed Name            Jurisdiction
Power of Attorney Information                                                                                                          (Complete Step 6
Check one box:                  Attorney                      Certified Public Accountant              Enrolled Agent            Other of Form IL-2848))



Power of Attorney's name                                                             Firm Name


Identification Number (Attorney License, PTIN, FEIN, SSN)                            Email Address
                                                                         NT
Power of Attorney's Street Address                                                   City                                    State              ZIP


Daytime Phone Number                                                                 Fax Number
If your Power of Attorney is an attorney, certified public accountant, or enrolled agent, the Power of Attorney must complete this section:
I declare that I am not currently under suspension or disbarment, and that I am
¥   a member in good standing of the highest court of the jurisdiction indicated;
                                             IE

        or
¥   duly qualified to practice as a certified public accountant in the
                                                                                Power of Attorney Signature                               Date
    jurisdiction indicated;
        or
¥   enrolled as an agent pursuant to the requirements of United
                                           CL



    States Treasury Circular #230.                                                    Power of Attorney Printed Name            Jurisdiction
Power of Attorney Information                                                                                                          (Complete Step 6
Check one box:                  Attorney                      Certified Public Accountant              Enrolled Agent            Other of Form IL-2848))



Power of Attorney's name                                                             Firm Name


Identification Number (Attorney License, PTIN, FEIN, SSN)                            Email Address


Power of Attorney's Street Address                                                   City                                    State              ZIP


Daytime Phone Number                                                                 Fax Number
If your Power of Attorney is an attorney, certified public accountant, or enrolled agent, the Power of Attorney must complete this section:
I declare that I am not currently under suspension or disbarment, and that I am
¥   a member in good standing of the highest court of the jurisdiction indicated;
        or
¥   duly qualified to practice as a certified public accountant in the
                                                                                Power of Attorney Signature                               Date
    jurisdiction indicated;
        or
¥   enrolled as an agent pursuant to the requirements of United
    States Treasury Circular #230.                                                    Power of Attorney Printed Name            Jurisdiction
    049952 09-15-20   ID: 2BX
                                Printed by the authority of the State of Illinois.                                      IL-2848-A (N-08/20) Page 2 of 2
              Case 23-09789               Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25                            Desc Main
                                                       Document      Page 96 of 102




Fill in this information to identify the case:

Debtor name         North Village Snow Management Corp.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on     07/25/2023                        X
                                                             Signature of individual signing on behalf of debtor

                                                             Sean Sandona
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-09789            Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25                                        Desc Main
                                                          Document      Page 97 of 102

 Fill in this information to identify the case:
 Debtor name North Village Snow Management Corp.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 801 Chase Owner                                                                                                                                                 $63,446.12
 LP
 c/o Westmont Realty
 Group LLC
 1200 N. Arlington
 Heights Rd., #220
 Itasca, IL 60143
 De Lage Landen                                                                                                                                                  $18,293.10
 Financial Services
 1111 Old Eagle
 School Road
 Wayne, PA 19087
 De Lage Landen                                                                                                                                                    $4,003.59
 Financial Services
 1111 Old Eagle
 School Road
 Wayne, PA 19087
 Houzz, Inc.                                                                                                                                                       $7,188.00
 285 Hamilton Ave.
 Palo Alto, CA 94301
 Illinois Dept. of                                                                                                                                               $19,484.48
 Revenue
 9511 Harrison St.
 Des Plaines, IL
 60016
 Illinois Tollway                                                                                                                                                $10,000.00
 2700 Ogden Ave.
 Downers Grove, IL
 60515
 Monoflow                                                                                                                                                      $130,000.00
 International
 882 Baker Lane
 Winchester, VA
 22603




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 23-09789            Doc 1        Filed 07/27/23 Entered 07/27/23 11:24:25                                        Desc Main
                                                          Document      Page 98 of 102


 Debtor    North Village Snow Management Corp.                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 OSHA                                                                                                                                                            $30,000.00
 Conserve
 Collections
 PO Box 1528 200
 CrossKeys Office
 Fairport, NY 14450
 Raymond Leasing                                                                                                                                                 $10,069.02
 Corp.
 22 South Canal
 Street
 Greene, NY
 13778-0130
 The N2 Company                                      Contract                                                                                                    $40,000.00
 5051 New Centre Dr.
 Wilmington, NC
 28403
 Tighe, Kress & Orr                                                                                                                                                $4,000.00
 2205 Point Blvd,
 #100
 Elgin, IL 60123
 Verizon Connect                                                                                                                                                 $10,000.00
 1600 Gold Rd., #800
 Rolling Meadows, IL
 60008
 Wells Fargo                                                                                                                                                     $24,785.28
 Financial Services
 LLC
 1010 Thomas
 Edison Blvd. SW
 Cedar Rapids, IA
 52402




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
          Case 23-09789        Doc 1    Filed 07/27/23 Entered 07/27/23 11:24:25                 Desc Main
                                        Document      Page 99 of 102




                                       United States Bankruptcy Court
                                              Northern District of Illinois
In re   North Village Snow Management Corp.                                      Case No.
                                                           Debtor(s)             Chapter    11




                                 VERIFICATION OF CREDITOR MATRIX

                                                                 Number of Creditors:                           17




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   07/25/2023
                                                Sean Sandona/President
                                                Signer/Title
    Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                            Document      Page 100 of 102


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                      801 Chase Owner LP
                      c/o Westmont Realty Group LLC
                      1200 N. Arlington Heights Rd., #220
                      Itasca, IL 60143


                      Burke, Warren, MacKay & Serritella
                      330 N. Wabash Ave., Suite 2100
                      Chicago, IL 60611


                      De Lage Landen Financial Services
                      1111 Old Eagle School Road
                      Wayne, PA 19087


                      Houzz, Inc.
                      285 Hamilton Ave.
                      Palo Alto, CA 94301


                      Illinois Dept. of Revenue
                      9511 Harrison St.
                      Des Plaines, IL 60016


                      Illinois Tollway
                      2700 Ogden Ave.
                      Downers Grove, IL 60515


                      John Silk
                      Rothschild Barry & Myers LLP
                      150 S. Wacker Dr., Suite 3025
                      Chicago, IL 60606


                      Monoflow International
                      882 Baker Lane
                      Winchester, VA 22603


                      OSHA
                      Conserve Collections
                      PO Box 1528 200 CrossKeys Office
                      Fairport, NY 14450


                      OSHA
                      Chicago North Area Office
                      2020 S. Arlington Heights Rd., #102
                      Arlington Heights, IL 60005
Case 23-09789   Doc 1   Filed 07/27/23 Entered 07/27/23 11:24:25   Desc Main
                        Document      Page 101 of 102



                  Raymond Leasing Corp.
                  22 South Canal Street
                  Greene, NY 13778-0130


                  Sean Sandona
                  2712 West Sunnyside Ave.
                  Chicago, IL 60625


                  Small Business Administration
                  14925 Kingsport Rd.
                  Fort Worth, TX 76155


                  The N2 Company
                  5051 New Centre Dr.
                  Wilmington, NC 28403


                  Tighe, Kress & Orr
                  2205 Point Blvd, #100
                  Elgin, IL 60123


                  Verizon Connect
                  1600 Gold Rd., #800
                  Rolling Meadows, IL 60008


                  Wells Fargo
                  Financial Services LLC
                  1010 Thomas Edison Blvd. SW
                  Cedar Rapids, IA 52402
           Case 23-09789         Doc 1     Filed 07/27/23 Entered 07/27/23 11:24:25                    Desc Main
                                           Document      Page 102 of 102



                                          United States Bankruptcy Court
                                                Northern District of Illinois
 In re   North Village Snow Management Corp.                                          Case No.
                                                             Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for North Village Snow Management Corp. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




July 27, 2023                                   /s/ David K. Welch
Date                                            David K. Welch 06183621
                                                Signature of Attorney or Litigant
                                                Counsel for North Village Snow Management Corp.
                                                Burke, Warren, MacKay & Serritella, P.C.
                                                330 N. Wabash
                                                21st Floor
                                                Chicago, IL 60611
                                                312-840-7122
                                                dwelch@burkelaw.com
